             Case 20-11884-KBO   Doc 142-2   Filed 09/02/20   Page 1 of 70




                                    EXHIBIT B

                           Disclosure Statement Blackline




26986431.1
                         Case 20-11884-KBO               Doc 142-2        Filed 09/02/20         Page 2 of 70




                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

                                                                          x
                                                                          :
             In re:                                                       :          Chapter 11
                                                                          :
             TONOPAH SOLAR ENERGY, LLC,                                   :          Case No. 20-11884 (KBO)
                                                                          :
                      Debtor.1                                            :
                                                                          :
                                                                          x

                                AMENDED DISCLOSURE STATEMENT FOR
                           CHAPTER 11 PLAN FOR TONOPAH SOLAR ENERGY, LLC

                       THIS DISCLOSURE STATEMENT IS BEING SUBMITTED FOR APPROVAL FROM,
                       BUT HAS NOT BEEN APPROVED BY, THE BANKRUPTCY COURT. THIS IS NOT A
                      SOLICITATION OF ACCEPTANCE OR REJECTION OF THE PLAN. ACCEPTANCES
                         OR REJECTIONS MAY NOT BE SOLICITED UNTIL AFTER A DISCLOSURE
                            STATEMENT HAS BEEN APPROVED BY THE BANKRUPTCY COURT.


             YOUNG CONAWAY STARGATT &                                WILLKIE FARR & GALLAGHER LLP
             TAYLOR, LLP

             Edmon L. Morton (No. 3856)                              Matthew A. Feldman (admitted pro hac vice
             Matthew B. Lunn (No. 4119)                              pending)
             Allison S. Mielke (No. 5934)                            Paul V. Shalhoub (admitted pro hac vice
             Jared W. Kochenash (No. 6557)                           pending)
                                                                     Andrew S. Mordkoff (admitted pro hac vice
             Rodney Square                                           pending)
             1000 North King Street                                  Ciara A. Copell (admitted pro hac vice
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                                                                     ccopell@willkie.com

         1
               The Debtor in this chapter 11 case, along with the business address and the last four (4) digits of the Debtor’s
               federal tax identification number is: Tonopah Solar Energy, LLC, 11 Gabbs Pole Line Road, Tonopah, NV
               89049 (1316)
26971921.1
                    Case 20-11884-KBO      Doc 142-2   Filed 09/02/20   Page 3 of 70




                                                  Proposed Co-Counsel to the Debtor
                                                  and Debtor in Possession




         Dated: July 30September 2, 2020




26971921.1
                        Case 20-11884-KBO                      Doc 142-2             Filed 09/02/20              Page 4 of 70




                                                          TABLE OF CONTENTS

         ARTICLE I INTRODUCTION .......................................................................................................1

                  A.        General .....................................................................................................................1
                  B.        Confirmation of the Plan ..........................................................................................5
                  C.        Treatment and Classification of Claims and Interests; Impairment.........................6
                  D.        Confirmation Hearing ..............................................................................................1

         ARTICLE II GENERAL INFORMATION REGARDING THE DEBTOR ..................................1

                  A.        Voting; Holders of Claims Entitled to Vote ............................................................1
                  B.        The Debtor’s Business .............................................................................................3
                  C.        Operation and Maintenance Agreements .................................................................8
                  D.        The Debtor’s Prepetition Capital Structure............................................................89
                  E.        Events Leading to the Chapter 11 Case .............................................................1011
                  F.        The Debtor’s Goals in the Chapter 11 Case.......................................................1314

         ARTICLE III THE CHAPTER 11 CASE .....................................................................................14

                  A.        General Case Background......................................................................................14
                  B.        Employment and Compensation of Professionals .............................................1415
                  C.        “First Day” Motions and Related Applications .................................................1415
                  D.        Exclusivity .............................................................................................................16

         ARTICLE IV SUMMARY OF THE PLAN .............................................................................1617

                  A.        Overview of the Plan .........................................................................................1718
                  B.        Classification and Treatment of Claims and Interests .......................................1718
                  C.        Executory Contracts and Unexpired Leases ......................................................2324
                  D.        Implementation of the Plan ....................................................................................28
                  E.        Effect of Confirmation ...........................................................................................32

         ARTICLE V VOTING REQUIREMENTS; ACCEPTANCE AND CONFIRMATION
                      OF THE PLAN .................................................................................................39

                  A.        General ...................................................................................................................39
                  B.        Parties in Interest Entitled to Vote .....................................................................3940
                  C.        Classes Impaired and Entitled to Vote Under the Plan ......................................3940
                  D.        Voting Procedures and Requirements ................................................................4041
                  E.        Acceptance of Plan ............................................................................................4142
                  F.        Confirmation Without Necessary Acceptances; Cramdown .............................4243
                  G.        Classification......................................................................................................4344

         ARTICLE VI FEASIBILITY AND BEST INTERESTS OF CREDITORS ................................44

                  A.        Best Interests Test ..................................................................................................44
                  B.        Liquidation Analysis ..........................................................................................4445
26971921.1
                                                                               i
                         Case 20-11884-KBO                    Doc 142-2            Filed 09/02/20             Page 5 of 70




                  C.        Application of the Best Interests Test ................................................................4546
                  D.        Feasibility...........................................................................................................4546

         ARTICLE VII SECURITIES LAW MATTERS .......................................................................4647

                  A.        Bankruptcy Code Exemptions from Registration Requirements .......................4647

         ARTICLE VIII CERTAIN RISK FACTORS TO BE CONSIDERED PRIOR TO
                       VOTING .......................................................................................................4748

                  A.        Certain Bankruptcy Law Considerations ...........................................................4748
                  B.        Risks Related to Debtor’s Ongoing Operations during the Case.......................4950
                  C.        Financing Risks for the Reorganized Debtor .....................................................5051




26971921.1
                                                                            ii
                     Case 20-11884-KBO      Doc 142-2      Filed 09/02/20   Page 6 of 70




                                         Appendices and Exhibits

         Appendix A    Chapter 11 Plan for Tonopah Solar Energy, LLC
         Appendix B    Liquidation Analysis
         Appendix C    Financial Projections

         Exhibit 1     Restructuring Support Agreement




26971921.1
                                                     iii
                     Case 20-11884-KBO          Doc 142-2      Filed 09/02/20     Page 7 of 70




                                                    ARTICLE I

                                                 INTRODUCTION

                A.      General

                 Tonopah Solar Energy, LLC (the “Debtor” or “TSE”), as debtor in possession in the
         chapter 11 case pending before the United States Bankruptcy Court for the District of Delaware
         (the “Bankruptcy Court”), administered under Case No. 20-[____]20-11884 (KBO), submits
         this disclosure statement (as may be amended, altered, modified, revised or supplemented from
         time to time, the “Disclosure Statement”) pursuant to section 1125 of title 11 of the United
         States Code (the “Bankruptcy Code”), in connection with the solicitation of votes on the
         Amended Chapter 11 Plan for Tonopah Solar Energy, LLC (the “Plan”), a copy of which is
         attached hereto as Appendix A.

                 Capitalized terms used but not otherwise defined herein have the meanings given to such
         terms in the Plan; provided, that any capitalized term used herein that is not defined herein or in
         the Plan, but is defined in the Bankruptcy Code or the Bankruptcy Rules, will have the meaning
         given to such term in the Bankruptcy Code or the Bankruptcy Rules, as applicable.

                  This Disclosure Statement is designed to provide holders of Claims entitled to vote on the
         Plan with adequate information to make an informed decision about whether to vote to accept or
         reject the Plan. This Disclosure Statement sets forth certain information regarding the Debtor’s
         prepetition capital structure and business operations, important developments leading to the
         commencement of the chapter 11 case, and important developments that have occurred during
         this chapter 11 case. This Disclosure Statement also describes terms and provisions of the Plan,
         including certain effects of confirmation of the Plan, certain risk factors associated with the Plan,
         potential alternatives to the Plan, the manner in which distributions will be made under the Plan
         if the Plan is confirmed and becomes effective, and related matters. In addition, this Disclosure
         Statement discusses the confirmation process and the voting procedures that holders of Claims
         entitled to vote under the Plan must follow for their votes to be counted.

                 The Plan and this Disclosure Statement are the result of months of extensive and vigorous
         negotiations among the Debtor, the U.S. Department of Energy (“DOE”), the U.S. Department
         of Justice (“DOJ”) and ACS Servicios Comunicaciones y Energía S.L. (“ACS”), Cobra
         Thermosolar Plants, Inc. (“CPI”) and Cobra Energy Investment, LLC (“CEI”, and together with
         ACS and CPI, “Cobra”). The culmination of these negotiations was entry into the Restructuring
         Support Agreement (the “Restructuring Support Agreement”), upon which the Plan is
         premised, by and among the Debtor and Cobra. The Restructuring Support Agreement provides
         for the restructuring of the Debtor through the filing of the chapter 11 case with the Bankruptcy
         Court and the confirmation of the Plan. The Debtor firmly believes the Restructuring Support
         Agreement puts the Debtor on firm footing to prosecute the chapter 11 case expeditiously to
         conclusion.

                The Plan contemplates a restructuring that provides for, among other things: (a) a $200
         million cash payment, plus potential deferred payments pursuant to the terms of a $100 million
         contingent note to be guaranteed by ACS, to the DOE, acting through the Secretary of Energy on

26971921.3
                     Case 20-11884-KBO         Doc 142-2     Filed 09/02/20     Page 8 of 70




         the Effective Date of the Plan (the “Effective Date”), with Cobra funding the Debtor’s
         obligations under the Plan through new debt financing and an equity contribution to be provided
         on the Effective Date; (b) mutual releases by the Debtor, Cobra, and the DOE of all Claims on
         the terms set forth in the Plan; (c) Cobra or an affiliate thereof to own 100% of the Company as
         one of the conditions of and upon the Effective Date; and (d) the unimpairment of all other
         Claims, as set forth in the Plan. As a result of the restructuring, the Debtor will emerge from
         bankruptcy with a significantly deleveraged balance sheet and free of costly, uncertain and time-
         consuming litigations with Cobra.

              HOLDERS OF CLAIMS AGAINST, AND HOLDERS OF INTERESTS IN, THE
         DEBTOR ARE ENCOURAGED TO READ AND CAREFULLY CONSIDER THE MATTERS
         DESCRIBED IN THIS DISCLOSURE STATEMENT.

              THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE
         WITH SECTION 1125 OF THE BANKRUPTCY CODE AND RULE 3016(C) OF THE
         FEDERAL RULES OF BANKRUPTCY PROCEDURE AND NOT NECESSARILY IN
         ACCORDANCE WITH FEDERAL OR STATE SECURITIES LAWS OR OTHER NON-
         BANKRUPTCY LAW. THIS DISCLOSURE STATEMENT WAS PREPARED TO PROVIDE
         PARTIES IN INTEREST IN THE CHAPTER 11 CASE WITH “ADEQUATE
         INFORMATION” (AS DEFINED IN THE BANKRUPTCY CODE) SO THAT THOSE
         CREDITORS WHO ARE ENTITLED TO VOTE WITH RESPECT TO THE PLAN CAN
         MAKE AN INFORMED JUDGMENT ABOUT THE PLAN.

              THIS DISCLOSURE STATEMENT HAS NOT BEEN FILED WITH, NOR
         REVIEWED BY THE SECURITIES AND EXCHANGE COMMISSION (THE “SEC”), AND
         THE SECURITIES TO BE ISSUED ON OR AFTER THE EFFECTIVE DATE WILL NOT
         HAVE BEEN THE SUBJECT OF A REGISTRATION STATEMENT FILED WITH THE SEC
         UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE “SECURITIES ACT”), OR
         WITH ANY OTHER SECURITIES REGULATORY AUTHORITY OF ANY STATE UNDER
         ANY STATE SECURITIES OR “BLUE SKY” LAWS. THE PLAN HAS NOT BEEN
         APPROVED OR DISAPPROVED BY THE SEC, ANY OTHER SECURITIES
         REGULATORY AUTHORITY, OR ANY STATE SECURITIES COMMISSION, AND
         NEITHER THE SEC, NOR ANY OTHER SECURITIES REGULATORY AUTHORITY, NOR
         ANY STATE SECURITIES COMMISSION HAS PASSED UPON THE ACCURACY OR
         ADEQUACY OF THE INFORMATION CONTAINED HEREIN. ANY REPRESENTATION
         TO THE CONTRARY IS A CRIMINAL OFFENSE. THIS DISCLOSURE STATEMENT
         DOES NOT CONSTITUTE AN OFFER OR SOLICITATION IN ANY STATE OR OTHER
         JURISDICTION IN WHICH SUCH OFFER OR SOLICITATION IS NOT AUTHORIZED.

              THE DEBTOR BELIEVES THAT THE ISSUANCE OF THE SECURITIES UNDER
         THE PLAN WILL BE EXEMPT FROM REGISTRATION UNDER THE SECURITIES ACT
         AND RELATED STATE STATUTES BY REASON OF THE EXEMPTION PROVIDED BY
         SECTION 4(A)(2) OF THE SECURITIES ACT AND RULE 506 OF REGULATION D
         PROMULGATED THEREUNDER.

              THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT IS
         INCLUDED FOR PURPOSES OF SOLICITING ACCEPTANCES OF THE PLAN AND MAY
26971921.1
                                                       -2-
                  Case 20-11884-KBO   Doc 142-2   Filed 09/02/20   Page 9 of 70




         NOT BE RELIED UPON FOR ANY PURPOSE OTHER THAN TO DETERMINE HOW TO
         VOTE ON THE PLAN. NO PERSON IS AUTHORIZED BY THE DEBTOR IN
         CONNECTION WITH THE PLAN OR THE SOLICITATION OF ACCEPTANCES OF THE
         PLAN TO GIVE ANY INFORMATION OR TO MAKE ANY REPRESENTATION OTHER
         THAN AS CONTAINED IN THIS DISCLOSURE STATEMENT AND THE EXHIBITS AND
         SCHEDULES ATTACHED HERETO OR INCORPORATED BY REFERENCE OR
         REFERRED TO IN THE DISCLOSURE STATEMENT AND/OR PLAN, AND, IF GIVEN OR
         MADE, SUCH INFORMATION OR REPRESENTATION MAY NOT BE RELIED UPON AS
         HAVING BEEN AUTHORIZED BY THE DEBTOR. ALTHOUGH THE DEBTOR WILL
         MAKE AVAILABLE TO ALL PARTIES ENTITLED TO VOTE ON THE PLAN SUCH
         ADDITIONAL INFORMATION AS MAY BE REQUIRED BY APPLICABLE LAW PRIOR
         TO THE VOTING DEADLINE, THE DELIVERY OF THIS DISCLOSURE STATEMENT
         WILL NOT UNDER ANY CIRCUMSTANCES IMPLY THAT THE INFORMATION
         HEREIN IS CORRECT AS OF ANY TIME SUBSEQUENT TO THE DATE HEREOF.

              EXCEPT WHERE SPECIFICALLY NOTED, THE FINANCIAL INFORMATION
         CONTAINED HEREIN HAS NOT BEEN AUDITED BY A CERTIFIED PUBLIC
         ACCOUNTANT AND HAS NOT BEEN PREPARED IN ACCORDANCE WITH
         GENERALLY ACCEPTED ACCOUNTING PRINCIPLES.

              FOR THE CONVENIENCE OF HOLDERS OF CLAIMS AND INTERESTS, THIS
         DISCLOSURE STATEMENT SUMMARIZES THE TERMS OF THE PLAN, BUT THE
         PLAN ITSELF QUALIFIES ALL SUMMARIES THEREOF. IF ANY INCONSISTENCY
         EXISTS BETWEEN THE PLAN OR THE APPLICABLE PLAN DOCUMENTS AND THIS
         DISCLOSURE STATEMENT, THE TERMS OF THE PLAN OR THE APPLICABLE PLAN
         DOCUMENTS ARE CONTROLLING. THE DISCLOSURE STATEMENT MAY NOT BE
         RELIED ON FOR ANY PURPOSE OTHER THAN TO DETERMINE WHETHER TO VOTE
         TO ACCEPT OR REJECT THE PLAN, AND NOTHING STATED HEREIN WILL
         CONSTITUTE AN ADMISSION OF ANY LIABILITY BY ANY PARTY, OR BE DEEMED
         CONCLUSIVE EVIDENCE OF THE TAX OR OTHER LEGAL EFFECTS OF THE PLAN
         ON THE DEBTOR OR HOLDERS OF CLAIMS OR INTERESTS.

               THIS DISCLOSURE STATEMENT CONTAINS FORWARD-LOOKING
         STATEMENTS BASED PRIMARILY ON THE CURRENT EXPECTATIONS OF THE
         DEBTOR AND PROJECTIONS ABOUT FUTURE EVENTS AND FINANCIAL TRENDS
         AFFECTING THE FINANCIAL CONDITION OF THE DEBTOR’S BUSINESS. IN
         PARTICULAR, STATEMENTS USING WORDS SUCH AS “MAY,” “MIGHT,” “WILL,”
         “COULD,” “WOULD,” “SHOULD,” “EXPECT,” “INTEND,” “PLAN,” “ANTICIPATE,”
         “BELIEVE,” “ESTIMATE,” “PROJECT,” “POTENTIAL,” “CONTINUE,” “SEEK TO” AND
         “ONGOING,” AND SIMILAR EXPRESSIONS IDENTIFY THESE FORWARD-LOOKING
         STATEMENTS. THESE FORWARD-LOOKING STATEMENTS ARE SUBJECT TO A
         NUMBER OF RISKS, UNCERTAINTIES AND ASSUMPTIONS, INCLUDING THOSE
         DESCRIBED BELOW UNDER ARTICLE VIII IN LIGHT OF THESE RISKS AND
         UNCERTAINTIES, THE FORWARD-LOOKING EVENTS AND CIRCUMSTANCES
         DISCUSSED IN THIS DISCLOSURE STATEMENT MAY NOT OCCUR, AND ACTUAL
         RESULTS COULD DIFFER MATERIALLY FROM THOSE ANTICIPATED IN THE
         FORWARD-LOOKING STATEMENTS. CONSEQUENTLY, THE PROJECTED
26971921.1
                                            -3-
                    Case 20-11884-KBO        Doc 142-2      Filed 09/02/20   Page 10 of 70




         FINANCIAL INFORMATION AND OTHER FORWARD-LOOKING STATEMENTS
         CONTAINED HEREIN SHOULD NOT BE REGARDED AS REPRESENTATIONS BY THE
         DEBTOR, ITS ADVISORS OR ANY OTHER PERSON THAT THE PROJECTED
         FINANCIAL CONDITIONS OR RESULTS OF OPERATIONS CAN OR WILL BE
         ACHIEVED. EXCEPT AS OTHERWISE REQUIRED BY LAW, THE DEBTOR DOES NOT
         UNDERTAKE ANY OBLIGATION TO UPDATE OR REVISE PUBLICLY ANY
         FORWARD-LOOKING STATEMENTS, WHETHER AS A RESULT OF NEW
         INFORMATION, FUTURE EVENTS OR OTHERWISE FOLLOWING APPROVAL OF THIS
         DISCLOSURE STATEMENT BY THE BANKRUPTCY COURT.

              THIS DISCLOSURE STATEMENT CONTAINS SUMMARIES OF CERTAIN
         PROVISIONS OF THE PLAN (INCLUDING THE COMPROMISES AND SETTLEMENTS
         PROVIDED FOR IN THE PLAN), CERTAIN STATUTORY PROVISIONS AND CERTAIN
         DOCUMENTS RELATING TO THE PLAN. ALTHOUGH THE DEBTOR BELIEVES THAT
         THESE SUMMARIES ARE FAIR AND ACCURATE AND PROVIDE ADEQUATE
         INFORMATION WITH RESPECT TO THE DOCUMENTS SUMMARIZED, SUCH
         SUMMARIES ARE QUALIFIED TO THE EXTENT THAT THEY DO NOT SET FORTH
         THE ENTIRE TEXT OF, OR ARE INCONSISTENT WITH, THE PLAN, SUCH STATUTES,
         OR SUCH DOCUMENTS. TO THE EXTENT THERE IS ANY CONFLICT,
         INCONSISTENCY, OR DISCREPANCY BETWEEN THE TERMS AND PROVISIONS IN
         THE PLAN AND THIS DISCLOSURE STATEMENT, THE PLAN SHALL GOVERN FOR
         ALL PURPOSES.

               THIS DISCLOSURE STATEMENT WILL NOT BE CONSTRUED TO BE
         CONCLUSIVE ADVICE ON THE TAX OR OTHER LEGAL EFFECTS TO ANY PERSON
         OR ENTITY THAT MAY RESULT FROM CONSUMMATION OF THE PLAN OR THE
         TRANSACTIONS CONTEMPLATED BY THE PLAN. AS TO CONTESTED MATTERS,
         ADVERSARY PROCEEDINGS, AND OTHER ACTIONS OR THREATENED ACTIONS,
         THIS DISCLOSURE STATEMENT AND THE STATEMENTS MADE HEREIN NEITHER
         WILL CONSTITUTE NOR BE CONSTRUED AS AN ADMISSION, STIPULATION,
         WAIVER, EVIDENCE OR FINDING OF FACT, BUT RATHER A STATEMENT OR
         STATEMENTS MADE IN SETTLEMENT NEGOTIATIONS.

              IF THE PLAN IS CONFIRMED BY THE BANKRUPTCY COURT AND THE
         EFFECTIVE DATE OCCURS, ALL HOLDERS OF CLAIMS AND INTERESTS
         (INCLUDING HOLDERS OF CLAIMS WHO DO NOT SUBMIT BALLOTS TO ACCEPT
         OR REJECT THE PLAN OR WHO ARE NOT ENTITLED TO VOTE ON THE PLAN) WILL
         BE BOUND BY THE TERMS OF THE PLAN AND THE RESTRUCTURING
         TRANSACTIONS CONTEMPLATED THEREBY.

                 The Plan contemplates the reorganization of the Debtor and the resolution of all
         outstanding Claims against, and Interests in, the Debtor. The Plan is the product of extensive,
         arm’s-length negotiations among the Debtor, the DOE, the DOJ and Cobra. The Debtor believes
         the Plan is reflective of these good faith negotiations and will treat Holders of Claims and
         Interests in an economic and fair manner. The Debtor believes that the Plan appropriately
         distributes value among its stakeholders in accordance with the Bankruptcy Code’s priority
         scheme.
26971921.1
                                                      -4-
                     Case 20-11884-KBO         Doc 142-2       Filed 09/02/20     Page 11 of 70




                 All exhibits to the Plan will be filed with the Bankruptcy Court and will be available for
         review, free of charge, at https://dm.epiq11.com/Tonopah not later than ten (10) days before
         the Voting Deadline (defined herein). Copies of all Exhibits to the Plan also may be obtained,
         free of charge, from Epiq Corporate Restructuring, LLC (the “Voting Agent”) by calling 1-866-
         897-6433 (Toll Free U.S. and Canada) or 1-646-282-2500 (International), or by emailing
         tabulation@epiqglobal.com with a reference to “Tonopah” in the subject line.

                 In addition, if you are a holder of a Claim entitled to vote on the Plan and did not receive
         a ballot, received a damaged ballot or lost your ballot, or if you have any questions concerning
         the procedures for voting on the Plan, please contact the Voting Agent by calling 1-866-897-
         6433 (Toll Free U.S. and Canada) or 1-646-282-2500 (International), or by emailing
         tabulation@epiqglobal.com with a reference to “Tonopah” in the subject line.

                B.      Confirmation of the Plan

                        1.      Requirements

                 The requirements for Confirmation of the Plan are set forth in section 1129 of the
         Bankruptcy Code. The requirements for approval of the Disclosure Statement are set forth in
         section 1125 of the Bankruptcy Code.

                        2.      Approval of the Plan and Confirmation Hearing

               To confirm the Plan, the Bankruptcy Court must hold a hearing to determine whether the
         Plan meets the requirements of section 1129 of the Bankruptcy Code.

                        3.      Only Impaired Classes Vote

                 Pursuant to the provisions of the Bankruptcy Code, only classes of claims or interests that
         are “impaired” (as defined in section 1124 of the Bankruptcy Code) under a plan may vote to
         accept or reject such plan. Generally, a claim or interest is impaired under a plan if the Holder’s
         legal, equitable or contractual rights are changed under such plan. In addition, if the Holders of
         claims or interests in an impaired class do not receive or retain any property under a plan on
         account of such claims or interests, such impaired class is deemed to have rejected such plan
         under section 1126(g) of the Bankruptcy Code and, therefore, such Holders are not entitled to
         vote on such plan.

                 Under the Plan, only the DOE, as the holder of Prepetition Note Claim, in Class 3 is
         entitled to vote on the Plan.

                 Under the Plan, Holders of Claims and Interests in Classes 1, 2, and 4 are unimpaired
         and, therefore, deemed to accept the Plan. Holders of Interests in Class 5 are impaired, will not
         receive or retain any distributions or interests under the Plan on account of such Interests, and
         deemed to have rejected the Plan.

               ACCORDINGLY, A BALLOT FOR ACCEPTANCE OR REJECTION OF THE PLAN
         IS BEING PROVIDED ONLY TO THE DOE, AS THE HOLDER OF CLAIMS IN CLASS 3.

26971921.1
                                                         -5-
                     Case 20-11884-KBO          Doc 142-2      Filed 09/02/20     Page 12 of 70




                C.      Treatment and Classification of Claims and Interests; Impairment

                        1.      Treatment of Administrative Expense Claims and Priority Tax Claims

                                a)      Administrative Expense Claims

                  Except to the extent that a holder of an Allowed Administrative Expense Claim agrees to
         a different treatment, or as otherwise expressly provided in the Plan, on the applicable
         Distribution Date, or as soon thereafter as is reasonably practicable, the holder of such Allowed
         Administrative Expense Claim shall receive Cash from the Debtor in an amount equal to such
         Allowed Claim; provided, however, that Allowed Administrative Expense Claims representing
         liabilities incurred in the ordinary course of business by the Debtor, as debtor in possession, shall
         be paid by the Debtor in the ordinary course of business, consistent with past practice and in
         accordance with the terms and subject to the conditions of any orders or agreements governing,
         instruments evidencing, or other documents relating to, such liabilities.

                 Claims for adequate protection which expressly constitute Allowed claims under the
         Cash Collateral Order shall be deemed Allowed Administrative Expense Claims to the extent
         payable under the Cash Collateral Order or the Plan, without the necessity of filing a proof of
         claim with respect thereto, and, shall be paid in full on the Effective Date or as is reasonably
         practicable as set forth in the Plan without the need to file a proof of such Claims with the
         Bankruptcy Court in accordance with the Plan and without further order of the Bankruptcy
         Court.

                                b)      Professional Fee Claims

                 Except to the extent that the applicable holder of an Allowed Professional Fee Claim
         agrees to less favorable treatment with the Debtor, or as otherwise expressly set forth in the Plan,
         each holder of a Professional Fee Claim shall be paid in full in Cash pursuant to the Plan.

                                c)      Priority Tax Claims

                   Except to the extent that the applicable holder of an Allowed Priority Tax Claim has been
         paid by the Debtor before the Effective Date, or the Debtor and such holder agree to less
         favorable treatment by the Debtor, each holder of an Allowed Priority Tax Claim shall receive,
         on account of such Allowed Priority Tax Claim, at the option of the Debtor (a) payment in full in
         Cash made on or as soon as reasonably practicable after the later of the (i) Effective Date and
         (ii) first Distribution Date occurring at least 20 calendar days after the date such Claim is
         Allowed, (b) regular installment payments in accordance with section 1129(a)(9)(C) of the
         Bankruptcy Code or (c) such other amounts and in such other manner as may be determined by
         the Bankruptcy Court to provide the holder of such Allowed Priority Tax Claim deferred Cash
         payments having a value, as of the Effective Date, equal to such Allowed Priority Tax Claim.

                 The Reorganized Debtor shall have the right, in its sole discretion, to pay any Allowed
         Priority Tax Claim or any remaining balance of an Allowed Priority Tax Claim (together with
         accrued but unpaid interest) in full at any time on or after the Effective Date without premium or
         penalty.

26971921.1
                                                         -6-
                     Case 20-11884-KBO          Doc 142-2      Filed 09/02/20     Page 13 of 70




                        2.      Classification of Other Claims and Interests

                 Pursuant to sections 1122 and 1123 of the Bankruptcy Code, Claims and Interests are
         classified for all purposes, including as set forth herein. A Claim or Interest shall be deemed
         classified in a particular Class only to the extent that the Claim or Interest qualifies within the
         description of that Class, and shall be deemed classified in a different Class to the extent that any
         remainder of such Claim or Interest qualifies within the description of such different Class. A
         Claim or Interest is in a particular Class only to the extent that such Claim or Interest is Allowed
         in that Class and has not been paid or otherwise satisfied prior to the Effective Date. Any Claim
         or Interest that has been paid or satisfied, or any Claim or Interest that has been amended or
         superseded, may be adjusted or expunged on the official claims register without a claims
         objection having to be filed and without any further notice to or action, order or approval of the
         Bankruptcy Court.

                Except as otherwise specifically provided for in the Plan, the Confirmation Order or other
         order of the Bankruptcy Court, or required by applicable non-bankruptcy law, in no event shall
         any Holder of an Allowed Claim be entitled to receive payments that in the aggregate exceed the
         Allowed amount of such Holder’s Claim.

                                  Summary of Classification and Treatment of
                                     Claims and Interests in the Debtor

                             THE PROJECTED RECOVERIES SET FORTH IN THE
                              TABLE BELOW ARE ESTIMATES ONLY AND ARE
                                   THEREFORE SUBJECT TO CHANGE.

                  The information in the table below is provided in summary form for illustrative purposes
         only and is subject to material change based on certain contingencies, including related to the
         Claims reconciliation process. Actual recoveries may widely vary within these ranges, and any
         changes to any of the assumptions underlying these amounts could result in material adjustments
         to recovery estimates provided herein and/or the actual distribution received by Creditors. The
         projected recoveries are based on information available to the Debtor as of the date hereof and
         reflect the Debtor’s estimates as of the date hereof only. In addition to the cautionary notes
         contained elsewhere in the Disclosure Statement, it is underscored that the Debtor makes no
         representation as to the accuracy of these recovery estimates. The Debtor expressly disclaims
         any obligation to update any estimates or assumptions after the date hereof on any basis
         (including new or different information received and/or errors discovered).

                The categories of Claims and Interests listed below classify Claims and Interests for all
         purposes, including voting, Confirmation and distribution pursuant to the Plan and pursuant to
         sections 1122 and 1123(a)(1) of the Bankruptcy Code. For a summary of the treatment of each
         Class of Claims and Interests, see Article IV, “Summary of the Plan,” below.




26971921.1
                                                         -7-
                                        Case 20-11884-KBO           Doc 142-2      Filed 09/02/20     Page 14 of 70




                                                                                                                          Estimated   Projected
                                                                                                                           Allowed    Recovery
                                                                                                           Entitled to    Amount of   Under the
             Class    Designation        Plan Treatment of Allowed Claims and Interests          Status      Vote           Claim       Plan
              1      Priority Non-   Except to the extent that a holder of an Allowed          Unimpaired No             $0           100%
                     Tax Claims      Priority Non-Tax Claim agrees to a different                         (deemed
                                     treatment, on the applicable Distribution Date, each                 to accept)
                                     holder of an Allowed Priority Non-Tax Claim shall
                                     receive Cash from the Debtor in an amount equal to
                                     such Allowed Claim.
              2      Other Secured   Except to the extent that a holder of an Allowed          Unimpaired No             $481,863     100%
                     Claims          Other Secured Claim agrees to a different                            (deemed
                                     treatment, on the applicable Distribution Date, or as                to accept)
                                     soon as reasonably practicable thereafter, each
                                     holder of an Allowed Other Secured Claim shall
                                     each receive, subject to the terms of the Plan, in full
                                     and final satisfaction, settlement, release and
                                     discharge of its Allowed Other Secured Claim, at
                                     the election of the Debtor: (i) Cash in an amount
                                     equal to such Allowed Other Secured Claim; or (ii)
                                     such other treatment that will render such Allowed
                                     Other Secured Claim unimpaired pursuant to
                                     section 1124 of the Bankruptcy Code; provided,
                                     however, that Other Secured Claims incurred by the
                                     Debtor in the ordinary course of business may be
                                     paid in the ordinary course of business in
                                     accordance with the terms and conditions of any
                                     agreements relating thereto, in the discretion of the
                                     Debtor without further notice to or order of the
                                     Bankruptcy Court.
                                     Each holder of an Allowed Other Secured Claim
                                     shall retain the Liens securing its Allowed Other
                                     Secured Claim as of the Effective Date until full
                                     and final satisfaction of such Allowed Other
                                     Secured Claim is made as provided in the Plan. On
                                     the full payment or other satisfaction of each
                                     Allowed Other Secured Claim in accordance with




26971921.3
                                             Case 20-11884-KBO              Doc 142-2       Filed 09/02/20        Page 15 of 70



                                                                                                                                          Estimated        Projected
                                                                                                                                           Allowed         Recovery
                                                                                                                          Entitled to     Amount of        Under the
             Class     Designation            Plan Treatment of Allowed Claims and Interests                Status          Vote            Claim            Plan
                                         the Plan, the Liens securing such Allowed Other
                                         Secured Claim shall be deemed released, terminated
                                         and extinguished, in each case without further
                                         notice to or order of the Bankruptcy Court, act or
                                         action under applicable law, regulation, order or
                                         rule or the vote, consent, authorization or approval
                                         of any Person.
              3      Prepetition          On the Effective Date, or as soon as reasonably                Impaired         Yes           $434,684,702       47-71%2
                     Note Claims          practicable thereafter, the holder of the Allowed
                                          Prepetition Note Claims shall receive, subject to
                                          the terms of the Plan, in full and final
                                          satisfaction, settlement, release and discharge of
                                          its Allowed Prepetition Note Claims, (a) $200
                                          million in Cash (which shall be satisfied by DOE
                                          by a draw on the Cobra Backstop Letter of
                                          Credit) and (b) all rights and obligations under
                                          the Exit Contingent Note.

              4      General             Except to the extent that a holder of a General                 Unimpaired No                  $770,000           100%
                     Unsecured           Unsecured Claim agrees to different treatment,                             (deemed
                                                                                                                    to accept)
                     Claims              each holder of an Allowed General Unsecured
                                         Claim shall receive treatment that: (i) leaves
                                         unaltered the legal, equitable, or contractual rights
                                         to which the holder of such Allowed General
                                         Unsecured Claim is entitled; or (ii) otherwise

         2
               The range of projected recovery under the Plan on account of the Prepetition Note Claim is based upon (i) in the low case of 47%, no payments being made
               by Reorganized TSE under the Exit Contingent Note, and (ii) in the high case of 71%, $100 million of payments being made by Reorganized TSE under the
               Exit Contingent Note over time (with no discount for present value). There is no guarantee that any payments will be required to be made by Reorganized
               TSE under the Exit Contingent Note, which will depend upon, among other things, the terms of new power purchase agreements entered into by
               Reorganized TSE. A copy of the Exit Contingent Note will be included in the Plan Supplement.

                                                                                      -2-



26971921.1
                                        Case 20-11884-KBO           Doc 142-2       Filed 09/02/20   Page 16 of 70



                                                                                                                         Estimated     Projected
                                                                                                                          Allowed      Recovery
                                                                                                          Entitled to    Amount of     Under the
             Class     Designation       Plan Treatment of Allowed Claims and Interests        Status       Vote           Claim         Plan
                                     leaves such Allowed General Unsecured Claim
                                     unimpaired pursuant to section 1124 of the
                                     Bankruptcy Code.

              5      Existing        Existing Interests shall be discharged, cancelled,      Impaired     No            $420,779,227   0%
                     Interests       released and extinguished, and holders thereof                       (deemed
                                                                                                          to reject)
                                     shall not receive or retain any distribution under
                                     the Plan on account of such Existing Interests.




                                                                              -3-



26971921.1
                     Case 20-11884-KBO          Doc 142-2      Filed 09/02/20      Page 17 of 70




                D.      Confirmation Hearing

                Following the Petition Date, the Bankruptcy Court will schedule a hearing to consider
         Confirmation of the Plan (the “Confirmation Hearing”). Parties in interest will have the
         opportunity to object to the Confirmation of the Plan at the Confirmation Hearing.

              THE DEBTOR URGES ALL HOLDERS OF CLAIMS ENTITLED TO VOTE ON THE
         PLAN TO VOTE TO ACCEPT THE PLAN.

                                                     ARTICLE II

                          GENERAL INFORMATION REGARDING THE DEBTOR

                A.      Voting; Holders of Claims Entitled to Vote

                 Pursuant to the provisions of the Bankruptcy Code, only holders of allowed claims or
         equity interests in classes of claims or equity interests that are Impaired and not deemed to have
         rejected a plan are entitled to vote to accept or reject a plan. Generally, a claim or interest is
         Impaired under the Plan if the holder’s legal, equitable or contractual rights are altered under
         such plan. Classes of claims or equity interests under a chapter 11 plan in which the holders of
         claims or equity interests are Unimpaired are deemed to have accepted such plan and are not
         entitled to vote to accept or reject the proposed plan. In addition, classes of claims or equity
         interests in which the holders of claims or equity interests will not receive or retain any property
         on account of their claims or equity interests are deemed to have rejected the plan and are not
         entitled to vote to accept or reject the plan.

                 The Bankruptcy Code defines “acceptance” of a plan by a class of claims as acceptance
         by creditors in that class that hold at least two-thirds (2/3) in dollar amount and more than one-
         half (1/2) in number of the claims held by non-insiders that cast ballots for acceptance or
         rejection of such plan (such vote, the “Requisite Acceptances”). Your vote to accept or reject
         the Plan is important. The Bankruptcy Code requires as a condition to confirmation of a plan
         that each class that is Impaired and entitled to vote under a plan vote to accept such plan, unless
         the provisions of section 1129(b) of the Bankruptcy Code are met.

                 If a Class of Claims entitled to vote on the Plan rejects the Plan, the Debtor reserves the
         right to amend the Plan (subject to the prior written consent of Cobra) and/or to request
         confirmation of the Plan pursuant to section 1129(b) of the Bankruptcy Code. Section 1129(b) of
         the Bankruptcy Code permits the confirmation of a plan notwithstanding the non-acceptance of a
         plan by one or more Impaired classes of claims or interests, so long as at least one Impaired class
         of claims or interests, excluding the votes of insiders, votes to accept the plan. Under Section
         1129(b) of the Bankruptcy Code, a plan may be confirmed by a bankruptcy court if it does not
         “discriminate unfairly” and is “fair and equitable” with respect to each non-accepting class.

                 If you are entitled to vote to accept or reject the Plan, a ballot is enclosed for the purpose
         of voting on the Plan (a “Ballot”). This Disclosure Statement, the Exhibits attached hereto, and
         the Plan and related documents are the only materials the Debtor is providing to creditors for
         their use in determining whether to vote to accept or reject the Plan, and such materials may not
         be relied upon or used for any purpose other than to vote to accept or reject the Plan. If you
26971921.3
                    Case 20-11884-KBO          Doc 142-2       Filed 09/02/20     Page 18 of 70




         believe that you are entitled to vote to accept or reject the Plan and you did not receive a Ballot,
         please consult with your counsel and/or contact the Voting Agent by calling 1-866-897-6433
         (Toll Free U.S. and Canada) or 1-646-282-2500 (International), or by emailing
         tabulation@epiqglobal.com with a reference to “Tonopah” in the subject line, or at the address
         listed below.

                Please complete, execute and return your Ballot(s) (a) in the provided postage prepaid
         envelope, (b) via electronic mail to tabulation@epiqglobal.com or (c) by first class mail,
         overnight courier or hand delivery to:

                              If by First Class Mail:

                              Tonopah Solar Energy, LLC Ballot Processing Center
                              c/o Epiq Corporate Restructuring, LLC
                              P.O. Box 4422
                              Beaverton, OR 97076-4422

                              If by Overnight Courier or Overnight Mail:

                              Tonopah Solar Energy, LLC Ballot Processing Center
                              c/o Epiq Corporate Restructuring, LLC
                              10300 SW Allen Boulevard
                              Beaverton, OR 97005

              PLEASE REFER TO THE INSTRUCTIONS ACCOMPANYING THE BALLOTS FOR
         MORE INFORMATION REGARDING VOTING REQUIREMENTS TO ENSURE THAT
         YOUR BALLOT IS PROPERLY AND TIMELY SUBMITTED SUCH THAT YOUR VOTE
         MAY BE COUNTED.

               TO BE COUNTED, YOUR PROPERLY COMPLETED BALLOT INDICATING
         ACCEPTANCE OR REJECTION OF THE PLAN MUST BE ACTUALLY RECEIVED BY
         THE VOTING AGENT NO LATER THAN [●]5:00 P.M., EASTERN TIME, ON [●]
         OCTOBER 13, 2020 (the “Voting Deadline”) UNLESS THE DEADLINE IS EXTENDED BY
         THE DEBTOR WITH THE CONSENT OF COBRA. YOUR BALLOT MAY BE SENT VIA
         THE PROVIDED POSTAGE PREPAID ENVELOPE, ELECTRONIC MAIL, FIRST CLASS
         MAIL, OVERNIGHT COURIER OR HAND DELIVERY, AS INSTRUCTED IN THE
         BALLOT.

                 The Ballots have been specifically designed for the purpose of soliciting votes on the
         Plan from the Classes entitled to vote with respect thereto. Accordingly, in voting on the Plan,
         please use only the Ballot(s) sent to you with this Disclosure Statement or provided by the
         Voting Agent. If you require an additional Ballot, please contact the Voting Agent and request a
         replacement and/or supplemental Ballot.

                The only impaired Class under the Plan that is entitled to vote is Class 3, which consists
         of Prepetition Note Claims. The DOE is the holder of the Prepetition Note Claims.

26971921.1
                                                         -2-
                     Case 20-11884-KBO         Doc 142-2        Filed 09/02/20   Page 19 of 70




                 All properly completed Ballots received prior to the Voting Deadline will be counted for
         purposes of determining whether a voting Class of Impaired Claims has accepted the Plan. The
         Voting Agent will prepare and file with the Bankruptcy Court a certification of the results of the
         balloting with respect to the Classes entitled to vote.

               THE DEBTOR BELIEVES THAT CONFIRMATION OF THE PLAN REPRESENTS
         THE BEST OPPORTUNITY TO MAXIMIZE VALUE FOR THE DEBTOR’S
         STAKEHOLDERS AND CONSTITUENTS AND STRONGLY RECOMMENDS THAT ALL
         HOLDERS OF CLAIMS ENTITLED TO VOTE ON THE PLAN VOTE TO ACCEPT THE
         PLAN.

                B.      The Debtor’s Business

                        1.      Overview of the Project

                  The Debtor owns and operates a net 110-megawatt concentrated solar energy power plant
         (the “Power Plant”) located near Tonopah in Nye County, Nevada. The Power Plant is also
         known as the Crescent Dunes Solar Energy Project (the “Project”). The Project is the first
         utility-scale concentrated solar power plant in the United States to be fully integrated with energy
         storage technology. The Power Plant uses solar power technology to concentrate and convert
         sunlight into heat energy, which is stored and converted, through a series of heat exchangers, to
         generate high-pressure steam. Specifically, the Power Plant includes 10,347 heliostats (mirror
         assemblies) that collect and focus the sun’s thermal energy to heat molten salt flowing through
         an approximately 640-foot tall solar power tower (the “Receiver Tower”). The Power Plant
         converts solar energy to heat energy by concentrating sunlight on the Receiver Tower, where
         molten salt is super-heated to a design temperature of 1050° F to create a source of heat energy.
         Upon exiting the Receiver Tower, this molten salt is maintained in a vessel, the hot salt tank,
         before it is transmitted to the other areas of the Power Plant. The balance of the Power Plant
         then relies on conventional technology to convert the heat energy to high-pressurized steam
         through a steam generation system, which powers a turbine that creates electricity for sale. At
         the time of its construction, the Power Plant was unique among solar energy plants for many
         reasons, including its use of a non-degradable energy storage technology that can produce
         electricity at night, in the absence of sunlight.

                 Until October 2019, the electricity generated by the Power Plant was sold exclusively to
         the Nevada Power Company, d/b/a NV Energy (“NVE”), under that certain Long-Term Firm
         Portfolio Energy Credit and Renewable Power Purchase Agreement dated November 4, 2009 (as
         amended, the “PPA”), which, as discussed below, was terminated by NVE in the fall of 2019.
         The Debtor’s sole source of revenue was the sale of power under the PPA.

                The Debtor is currently managed by officers supplied by FTI, whose actions are overseen
         and directed by the Debtor’s board of managers. The Debtor also obtains operational support
         from third party contractors. The Debtor’s operating agreement prevents it from directly
         employing personnel. Therefore, as of the Petition Date, the Debtor has no employees of its
         own.



26971921.1
                                                          -3-
                     Case 20-11884-KBO          Doc 142-2      Filed 09/02/20     Page 20 of 70




                 Due to certain issues with a critical plant component, discussed below, the Power Plant is
         not currently generating any electricity; thus, it is not generating any revenue from the sale of
         electricity. The Debtor’s vendors and contractors are working to fix structural issues that would
         allow the Debtor to recommence operations.

                        2.      History of TSE and the Crescent Dunes Solar Energy Project

                 TSE was formed in February 2008 by SolarReserve, Inc. (“SolarReserve”) to develop a
         solar energy power plant in the Nevada desert that would utilize a molten salt receiver to
         generate power. The Project was to be the first utility-scale solar project of its kind in the United
         States to store energy as heat in the form of molten salt, effectively functioning as a giant battery,
         with the capability to generate electricity at night. The Project’s design was an innovative
         solution to the core limitation of renewable energy sources such as solar and wind—their
         intermittency. TSE also anticipated that the Project would generate at least 600 construction jobs
         and 45 permanent jobs, and would avoid the release of nearly 279,000 metric tons of carbon
         dioxide into the atmosphere annually that would have been produced if conventional electricity
         generation technologies were used.

                The development of the Project was dependent on identifying (a) a construction company
         to assume the risks associated with the required turnkey fixed-price engineering, procurement
         and construction contract, and (b) a utility to purchase the Power Plant’s renewable, clean power
         that would be generated by a solar energy power plant under a long-term power purchase
         agreement. After extensive negotiation and a protracted regulatory approval process, TSE found
         a purchaser in NVE, and, in November 2009, it entered into the PPA. The PPA initially
         contemplated that TSE would build the Power Plant, and, upon completion, NVE would be the
         exclusive offtake purchaser of the power generated by the Power Plant. The following month,
         SolarReserve applied for a loan guarantee from DOE, and TSE executed a contract (the “EPC
         Contract”) with CPI to provide engineering, procurement and construction services in
         connection with the Project (at an initial fixed price amount of $766.4 million) in 2011. TSE
         obtained equity investments from SolarReserve, CEI, which is an affiliate of ACS and Banco
         Santander, S.A.

                 TSE and the DOE executed that certain Loan Guarantee Agreement, dated as of
         September 23, 2011, between the Debtor and the DOE (as amended, the “LGA”) in an
         authorized amount of up to $737 million, whereby the DOE guaranteed the project loan made to
         TSE by the Federal Financing Bank (the “FFB”). The initial amount of the loan guarantee was
         approximately $692 million. As is typically the case in project loan documents, the LGA
         expressly provided that, the financing thereunder was conditioned upon the effectiveness of the
         PPA, which would provide the sole source of operating cash flow to service the project loan.
         The Debtor does not believe that the Project would have been financed without, among other
         factors, the execution of the PPA and NVE’s consequent commitment to purchase power
         generated by the Project at a price greater than $135 per megawatt hour (the “PPA Purchase
         Price”).

                 As one of the conditions to guaranteeing the project loan and entering into the LGA, and
         as is common in the renewable energy industry, the DOE—as project lender—required the
         execution of the Consent and Agreement dated October 23, 2011 (the “Direct Agreement”), by
26971921.1
                                                         -4-
                      Case 20-11884-KBO              Doc 142-2        Filed 09/02/20        Page 21 of 70




         and among TSE, NVE and PNC Bank, National Association d/b/a Midland Loan Services, a
         division of PNC Bank, National Association, as collateral agent (the “Collateral Agent”), to
         memorialize certain rights of the Collateral Agent on behalf of the senior secured lender in
         connection with the PPA. The Direct Agreement creates privity between and among the then-
         exclusive purchaser of the power generated by the Power Plant (NVE), the supplier of the power
         (TSE) and the Collateral Agent, and provides for specific PPA-related rights in favor of the
         Collateral Agent (for the benefit of the DOE), including additional protections for the Collateral
         Agent as it relates to the PPA, particularly in the event of a PPA default resulting in its possible
         termination.3

                 In accordance with the EPC Contract, CPI agreed to complete construction of the Project
         by a date certain at a fixed price and to secure “Provisional Acceptance” of the Project before
         tendering a “turnkey” power plant to TSE. As set forth in the EPC Contract, CPI further agreed
         to pay both liquidated damages and certain contractually-defined damages in the event that the
         Power Plant did not generate specific minimum levels of electricity and satisfy other specified
         performance criteria. TSE has alleged that CPI failed to perform under, and is in breach of, the
         EPC Contract. CPI has vigorously denied such allegations. These allegations are the subject of
         a pending arbitration proceeding between CPI and TSE, described below.

                The Power Plant commenced commercial operations and production in November 2015
         and achieved “Provisional Acceptance” in December 2016.4

                In December 2016, Capital One, N.A. (“Capital One”) acquired a tax equity stake in
         TSE’s immediate parent and sole member, Tonopah Solar Energy Holdings II, LLC (“TSEH
         II”). As of the date of that investment, Capital One’s capital account balance was $47.25
         million.

                 In October 2016, the Power Plant ceased operations due to a leak in the hot salt tank.
         Following its repair, the Power Plant resumed generating electricity in July 2017 and remained
         operational until early April 2019, at which time the discovery of a second leak in the hot salt
         tank required the Power Plant to cease operations again. As the contractor under the EPC
         Contract, CPI has analyzed the root cause of the leak and is currently repairing the hot salt tank
         in an effort to resume Power Plant operations.

                  As of the Petition Date, the repair process is ongoing, the hot salt tank remains non-
         operational, and the Power Plant is not generating any electricity. However, CPI has invested
         many millions of dollars to insure that the plant operates reliably once it re-enters operations. It
         is in the process of addressing the two major sources of unreliability—the heat exchangers and

         3
             It is common in the renewable energy industry, and often a required condition of funding from secured lenders,
             that the parties to a power purchase agreement enter into a direct agreement with the secured lender to afford
             the secured lender sufficient protection and comfort in connection with their project loan.
         4
             Despite the commencement of commercial operations and production, the construction of the Power Plant was
             never completed. CPI failed to meet its contractually obligated deadlines to construct the Power Plant, which
             required repeated amendment to the EPC Contract. In fact, Provisional Acceptance was only achieved by
             amendment of the EPC Contract; that amendment specifically stated that CPI had failed to complete
             construction of the Power Plant. For the avoidance of doubt, CPI vigorously opposes the preceding
             characterization.
26971921.1
                                                               -5-
                      Case 20-11884-KBO              Doc 142-2        Filed 09/02/20        Page 22 of 70




         the hot salt tank—and it has delivered a schedule that anticipates the resumption of operations in
         the near term. While there have been certain delays in the recommissioning schedule as a result
         of supply chain effects created by COVID-19, these delays do not significantly jeopardize the
         timeline of the resumption of operations. The operational and financial effects of the
         remediation that is being conducted by CPI are reflected in the “Financial Projections” set forth
         in Appendix C hereto.

                  Cobra’s new role as contractor under the New O&M Agreement will create alignment
         between the owner (which Cobra will become on emergence), the EPC Contract, and the O&M
         provider. This alignment enhances efficiency as there will be significant knowledge transfer that
         would not otherwise be available between parties who are at odds with one another. Even prior
         to the transition of full ownership, there will be efficiencies gained in knowledge sharing,
         procurement, and alignment when the EPC Contractor and the O&M contractor are affiliates.

                          3.       Litigation between TSE and CPI

                 In November 2017, CPI commenced an arbitration proceeding against TSE (the “ICC
         Arbitration”) under the Rules of Arbitration of the International Court of Arbitration of the
         International Chamber of Commerce. CPI alleges, without limitation and in general terms, that
         TSE breached the EPC Contract by, among other things, (i) impermissibly controlling the
         performance testing process under the EPC Contract referred to as the “Continuous Performance
         Measurement” (the “CPM”); (ii) unilaterally altering the main software infrastructure of the
         Power Plant during the CPM period; (iii) wrongfully denying access to information and the
         Power Plant itself necessary to conduct the CPM; and (iv) wrongfully calculating and claiming
         entitlement to contractually-defined damages referred to in the EPC Contract as “CPM
         Payments”5 (collectively, the “CPI Arbitration Claims”).6 TSE vigorously denies these
         allegations.

                  In February 2018, TSE filed its Answer in the ICC Arbitration, asserting numerous
         counterclaims against CPI (the “TSE Arbitration Claims”). The TSE Arbitration Claims
         include, without limitation and in general terms, that (a) CPI breached the EPC Contract by
         failing to (i) deliver the guaranteed electricity output from the Power Plant, (ii) engineer, procure
         and construct the agreed upon Power Plant, and (iii) make certain critical payments and
         remediate in a timely manner various defects in the work it performed at the Power Plant;
         and (b) CPI’s conduct has amounted to bad faith and/or gross negligence.7 CPI vigorously
         denies these allegations.



         5
             Since shortly after the transfer of care, custody, and control of the Power Plant from Cobra to TSE in December
             2016, TSE has received CPM Payments from Cobra pursuant to a performance shortfall provision included in
             the EPC Contract, which requires Cobra to compensate TSE for the Power Plant’s failure to meet specific
             contractual performance criteria. Cobra has disputed such CPM Payments.
         6
             The information provided in this paragraph is intended to provide a general summary of the CPI Arbitration
             Claims. CPI’s full allegations are set forth in the documents filed by CPI in the ICC Arbitration.
         7
             The information provided in this paragraph is intended to provide a general summary of the TSE Arbitration
             Claims. TSE’s full allegations are set forth in the documents filed by TSE in the ICC Arbitration.
26971921.1
                                                                -6-
                      Case 20-11884-KBO             Doc 142-2        Filed 09/02/20       Page 23 of 70




                 Prior to a scheduled hearing on the merits of these claims, TSE filed in December 2019 a
         supplemental statement of counterclaims, wherein it alleged claims for breach of contract, breach
         of the covenant of good faith and fair dealing, interference with contractual relations, and fraud
         (collectively, the “Supplemental Claims”).8 CPI vigorously denies all of these allegations.

                 The hearing on a subset of the CPI Arbitration Claims and TSE Arbitration Claims was
         slated for January 2020; however, this hearing was postponed due to the unexpected illness of
         one of the arbitrators. On March 23, 2020, CPI and TSE agreed to a 60-day stay of the ICC
         Arbitration proceedings, as the parties continued extensive negotiations regarding the Plan,
         including a consensual resolution of the claims in the ICC Arbitration. The arbitration panel
         granted the requested stay on March 24, 2020. On May 11, 2020, the arbitration panel granted
         an additional 60-day extension until July 25, 2020. On July 22, 2020, the panel granted a further
         extension until September 25, 2020. If the ICC Arbitration proceeds, TSE and CPI are both
         seeking damages pursuant to and/or for breach of the EPC Contract and as may be available
         under applicable law. The Plan, if confirmed, would resolve all of the claims pursued by both
         parties in the ICC Arbitration.

                          4.      The Independent Managers Join the Board

                As of the commencement of the ICC Arbitration, the Board of Managers of TSE included
         two managers appointed by SolarReserve and one independent manager. In accordance with the
         Second Amended and Restated Limited Liability Company Agreement of Tonopah Solar Energy,
         LLC, dated as of May 22, 2018, and as a result of certain conflicts of interest that arose between
         Cobra and SolarReserve in connection with the management of the Power Plant and the overall
         corporate governance of TSE, TSEH II appointed two independent managers unaffiliated with
         Cobra and SolarReserve—Mark Manski and Joseph A. Bondi—to the Board of Managers of
         TSE (the “Independent Managers”) and replaced one of the two SolarReserve-appointed
         managers with a manager nominated by Cobra.

                 Among other duties, the Independent Managers were vested with the authority to review,
         evaluate and recommend key decisions to the full Board of Managers regarding the management
         of the Power Plant to the extent that conflicting interests of SolarReserve and/or Cobra were
         implicated.

                          5.      Hot Salt Tank Leak

                 In late March 2019, a significant leak in the hot salt tank was discovered, which required
         TSE to halt all power-generating operations at the Power Plant in early April 2019. The molten
         salt was removed from the hot salt tank, and CPI began repairing the tank. TSE and CPI
         disagree on the root cause of the leak and which party bears responsibility for the leak. For as
         long as the Power Plant remains non-operational, TSE is not selling any power and is not
         generating any revenue.



         8
             The information provided in this paragraph is intended to provide a general summary of the Supplemental
             Claims. TSE’s full allegations are set forth in the documents filed by TSE in the ICC Arbitration.
26971921.1
                                                               -7-
                     Case 20-11884-KBO        Doc 142-2       Filed 09/02/20    Page 24 of 70




                        6.     DOE Notices Events of Default and Replaces Non-Independent Managers

                By letter dated September 17, 2019, the DOE sent TSE a Notice of Events of Default (the
         “DOE Default Notice”). In the DOE Default Notice, the DOE alleges that TSE is in default
         under several provisions of the LGA.

                 In connection with the DOE Default Notice, the DOE—through the Collateral Agent—
         exercised certain proxy rights over TSEH II’s sole member interest in TSE under that certain
         Equity Pledge Agreement dated October 21, 2011, by and between TSEH II and the Collateral
         Agent (the “Equity Pledge Agreement”) and the Irrevocable Proxy granted by TSEH II to the
         Collateral Agent pursuant thereto. Specifically, the DOE alleged that all of TSEH II’s rights in
         respect of “voting, consensus and other powers of ownership pertaining to the Pledged
         Collateral” vested in the Collateral Agent, as provided for in the Equity Pledge Agreement
         following the occurrence and during the continuance of an Event of Default under the LGA.

                 Exercising these powers, the Collateral Agent executed a Written Consent of the Sole
         Member of Tonopah Solar Energy, LLC, effective as of September 17, 2019, which removed the
         two non-Independent Managers, who were representatives of the indirect equity holders
         SolarReserve and Cobra, respectively. In their place, the DOE appointed two individuals with
         significant restructuring and turnaround experience—Anna Phillips and Charles Reardon (the
         “Successor Managers”). As a result, the TSE Board of Managers as of the Petition Date
         consists of the two Successor Managers and the two Independent Managers, who have voted
         unanimously to authorize the filing of the Chapter 11 Case.

                C.      Operation and Maintenance Agreements

                 Under that certain Operation and Maintenance Agreement between the Debtor and PIC
         Group, Inc. (“PIC”), dated as of September 20, 2011 (the “O&M Contract”), PIC provides
         certain operational and maintenance services for the Debtor at the Power Plant including, but not
         limited to: (a) developing a work force through hiring and training; (b) operating the Power Plant
         in a clean, safe and efficient manner in accordance with the O&M Contract and certain budgets
         and industry practices; (c) maintaining records such as operating logs, manuals, and reports;
         (d) maintaining and calibrating tools and instruments; (e) implementing and updating certain
         environmental programs; (f) performing general preventative maintenance; (g) interfacing with
         certain regulatory bodies; (h) maintaining permits and licenses; and (i) undertaking those
         activities customarily performed by an operating and maintenance contractor for a power plant.

                 As the future owner and operator of the Power Plant, and as further discussed below, a
         condition of Cobra’s support for the RSA and the proposed transaction, CEI has requested, and
         the Debtor has agreed, to seek approval of the transfer of operations and maintenance of the
         Power Plant from PIC to CEI within thirty-five (35) days of the Petition Date. To effectuate the
         transfer of operations to CEI, the Debtor has entered into a new operation and maintenance
         agreement (the “Operating Agreement”) between the Debtor and a CEI affiliate, Cobra
         Industrial Services, Inc. (“CIS”), which is subject to approval of the Court and pursuant to which
         CIS will provide administrative, maintenance, and operating services under terms that are
         substantially similar to those in the O&M Contract. Accordingly, the Debtor will no longer


26971921.1
                                                        -8-
                     Case 20-11884-KBO          Doc 142-2       Filed 09/02/20     Page 25 of 70




         require the services provided by PIC under the O&M Contract once the Operating Agreement is
         approved by the Court.

                D.      The Debtor’s Prepetition Capital Structure

                 As of the Petition Date, the Debtor has outstanding debt obligations in the aggregate
         amount of over $432 million, including accrued and unpaid interest and applicable late charges,
         consisting primarily of TSE’s obligations to the DOE under the LGA and the other Prepetition
         Financing Documents.

                After receiving the DOE Default Notice in September 2019, the Debtor failed to make
         another payment subsequent payments of principal and interest scheduled for June 22, 2020. On
         June 29, 2020, and DOE delivered a supplemental notice of event notices of events of default for
         the missed paymenton October 16, 2019 and June 29, 2020.

                        1.      Secured Claims

                                a)      Loan Guarantee Agreement

                 On September 23, 2011, in connection with the Project, TSE entered into the LGA with
         the DOE to guaranty the funding of up to $737 million to TSE by the FFB (the “DOE Loan”).
         The DOE Loan is secured by substantially all of TSE’s assets, including the Project, TSE’s rights
         under its major contracts (including the EPC Contract), and all cash maintained in DOE
         controlled accounts, but subject to permitted liens and specified excluded assets. The DOE Loan
         is further secured by, among other collateral, an equity pledge from TSEH II of its sole member
         interest in TSE in favor of the Collateral Agent pursuant to the Equity Pledge Agreement
         (through which DOE appointed the Successor Managers). The DOE Loan accrues interest at an
         approximate weighted average rate of 2.9% per annum and matures in December 2036.

                As of the Petition Date, the approximate principal amount outstanding under the DOE
         Loan is $425 million and the accrued and unpaid interest under the DOE Loan is approximately
         $7.4 million.

                                b)      Litigation Claims

                 As noted above, TSE and CPI assert significant claims against one another in the ICC
         Arbitration. In the event that CPI were to prevail in the ICC Arbitration, CPI may be entitled to
         a significant claim against TSE’s bankruptcy estate.

                  In addition to the ICC Arbitration, TSE is a defendant in two interrelated civil actions
         commenced in Nevada state court by a Project subcontractor, Brahma Group, Inc. (“Brahma”),
         in respect of which Brahma is seeking contractual damages in excess of $13 million. Brahma
         initially filed a lien (the “Lien”) against the Project with respect to one of the civil actions, which
         was bonded by CPI. Subsequently, Brahma filed an identical civil action in a separate Nevada
         state court, which was removed to the federal district court in Nevada on September 9, 2018.
         Brahma moved to foreclose on the Lien (the “Lien Action”). In conjunction with the Lien
         Action, a subcontractor of Brahma, H&E Equipment, filed a companion lien action against TSE
         (the “Subcontractor Lien Action” and together with the Lien Action, the “Pending Lien
26971921.1
                                                          -9-
                      Case 20-11884-KBO             Doc 142-2          Filed 09/02/20     Page 26 of 70




         Actions”), which was also bonded by CPI. TSE successfully appealed the state court’s decision
         to proceed with the Pending Lien Actions, and they are now stayed pending the decision of the
         federal district court on the underlying claim.

                 Further, a subcontractor, Nooter Eriksen (“Nooter”), initiated a proceeding in Nye
         County, Nevada, against TSE, as a co-defendant alongside Solar Reserve, LLC (“SR LLC”),9 a
         subcontractor to the Project, and Liberty Moly, LLC, an easement provider. Upon information
         and belief, Nooter Eriksen provided certain materials to SR LLC that SR LLC deployed on the
         Project. TSE paid SR LLC for these materials; however, according to the complaint filed, SR
         LLC never paid Nooter. As it relates to TSE, Nooter is suing to foreclose on a lien that it has
         placed on the Project. TSE has filed an answer in this action and is awaiting further scheduling.

                 Additionally, SolarReserve CSP Holdings, LLC (“SR CSP”) in the fall of 2019 brought
         an action ( the “Books and Records Action”) against TSE in the Delaware Court of Chancery
         (the “Court of Chancery”) for breach of contract in respect of TSE’s alleged failure to provide
         access to the books and records of the company (the “Breach of Contract Claim”). TSE filed
         an answer on February 24, 2020. A bench trial took place on May 13, 2020. On July 24, 2020,
         the Court of Chancery issued a memorandum opinion resolving the Books and Records Action in
         TSE’s favor.

                  Finally, SR CSP brought an action against the Debtor in the Delaware Court of Chancery
         on October 2, 2019. SR CSP initially sought to name a manager to the Debtor’s board, and, in
         an amended complaint filed on November 5, 2019, SR CSP instead sought equitable dissolution
         of the Debtor. The Debtor filed a motion to dismiss the complaint on December 16, 2019. On
         March 18, 2020, the Delaware Court of Chancery granted TSE’s motion and dismissed the action
         in its entirety. SR CSP has filed an appeal. SR CSP filed an opening brief on June 2, 2020, and
         TSE filed a reply brief on July 2, 2020.

                 In addition to the actions set forth above, SR CSP and CMB Infrastructure Investment
         Group IX, LP (“CMB”) asserted in their objection to approval of the Disclosure Statement that
         the Disclosure Statement failed to describe “CMB’s filed action in Nevada.” Although the
         Debtor has not been served or provided with a copy of this action, and therefore cannot describe
         the claims asserted, the Debtor discloses CMB’s allegations that an action has been filed. The
         Debtor understands this action may relate to a qui tam action against it that has been
         commenced, but the Debtor has not been provided with a copy of that action.

                                  c)       Non-Litigation Unsecured Claims and Equity

                  The Debtor has approximately sixty (60) known unsecured creditors that are believed to
         hold claims totaling in excess of $2.8 million in the aggregate. Those creditors include trade
         claimants and other routine, ordinary course creditors, certain of which are deemed by TSE to be
         critical vendors as described more fully below.



         9
             In addition, on December 31, 2019, SolarReserve commenced an assignment for the benefit of creditors in the
             State of California.
26971921.1
                                                              - 10 -
                       Case 20-11884-KBO              Doc 142-2           Filed 09/02/20      Page 27 of 70




                 All of the equity interests in TSE are owned by TSEH II. The equity interests in TSEH II
         are divided into two classes: Class A Units10 held solely by Capital One, as “Tax Equity
         Investor” and Class B Units owned by Tonopah Solar Energy Holdings I, LLC (“TSEH I”).
         TSEH I is owned indirectly by Banco Santander (26.8%) and directly by Tonopah Solar
         Investments, LLC (73.2%). Tonopah Solar Investments, LLC is owned by CEI (50%), and SR
         CSP (50%).

                  E.       Events Leading up to the Chapter 11 Case

                 A series of events, set off by the March 2019 leak of the hot salt tank, necessitated the
         filing of the Chapter 11 Case.

                           1.       Hot Salt Tank

                As set forth above, the hot salt tank—an essential component in the operation of the
         Power Plant—experienced a leak in late March 2019. Consequently, the Power Plant has been
         unable to produce any electricity since April 2019, and the Debtor has not generated any revenue
         through the sale of power since that time. Its only source of cash inflow has been the CPM
         Payments, which have now ended.

                           2.       Termination of the PPA

                 In the ten years that have passed since the execution of the PPA, the market price of
         renewable energy has dropped to a level that is significantly below the PPA Purchase Price (an
         escalating figure beginning at $135 per megawatt hour, which had reached approximately $139
         per megawatt hour at the time the PPA terminated). Eager to free itself from the long-term
         obligation to purchase site-specific power generated at the Power Plant at a price it no longer
         viewed as economic, NVE capitalized on the operational difficulties at the Project and served a
         notice of default under the PPA on January 1, 2019 (“NVE Default Notice”).

                 Upon receipt of the NVE Default Notice, TSE, along with CPI, worked diligently to cure
         the potential event of default alleged in the NVE Default Notice within the applicable cure
         periods. Nevertheless, on October 4, 2019, the PPA was terminated with respect to all parties.

                 Since the termination of the PPA, CPI has continued with repair activities at the Power
         Plant, and TSE has investigated options for replacing the terminated PPA with a similar offtake
         contract. Given the shifts in the market dynamics since the execution of the PPA nearly ten
         years ago, there is not an equivalent PPA available today nor is there a PPA that would permit
         TSE to satisfy the repayment of the DOE Loan and satisfy its own operating costs even if the
         Power Plant were operational.




         10
              The Class A Units representing the equity interests do not have voting rights with respect to the appointment of
              the managing member, but there are certain reserved actions for which the consent of the holders of both the
              Class A Units and the Class B Units is required.
26971921.1
                                                                 - 11 -
                         Case 20-11884-KBO              Doc 142-2          Filed 09/02/20      Page 28 of 70




                             3.       Restructuring Support Agreement

                In early 2020, facing liquidity issues, the Debtor, Cobra, and DOE began discussions
         regarding the compromise and settlement of the DOE’s claims for an agreed-upon reduced
         amount. Ultimately, following months of extensive arm’s-length negotiations, the Debtor, CEI,
         and DOE agreed in principle to implement the terms of a de-leveraging transaction through a
         pre-negotiated chapter 11 plan that also involved the settlement of the ICC Arbitration.

                 On July 29, 2020, the Debtor and Cobra entered into that certain Restructuring Support
         Agreement (as may be amended, the “RSA”), pursuant to which, among other things: (a) the
         DOE shall receive, in full and complete satisfaction of the Debtor’s outstanding obligations
         under the Loan Documents (as defined in the LGA), a payment of $200 million in cash upon the
         Effective Date of the Plan (as defined therein), plus a $100 million contingent note to be
         guaranteed by Cobra, with Cobra funding the Debtor’s obligations under the Plan through new
         debt financing and cash to be provided on the Effective Date of the Plan; (b) the security
         interests granted under the Security Documents (as such term is defined in the LGA) shall be
         released; (c) the parties shall mutually release each other from all Claims (as defined in the Plan)
         on the terms set forth in the Plan; (d) Cobra or an affiliate thereof shall own 100% of the
         company upon completion of the restructuring; and (e) all other claims shall remain unimpaired
         as set forth in the Plan. Pursuant to the Plan, it is contemplated that all claims, other than the
         DOE’s, will be either paid in full on the Effective Date or otherwise rendered unimpaired.

                  The RSA may be terminated in the event of certain breaches by the parties thereto and
         upon the occurrence of certain events (each an “RSA Milestone” and collectively, the “RSA
         Milestones”), including, for example, the failure to meet specified milestones relating to the
         filing, confirmation, and consummation of the Plan. A summary of certain RSA Milestones is
         below:



                                           RSA Milestone Termination Events11
             11:59 p.m. (EST) on the date that is two (2) unless (i) the Bankruptcy Case is commenced
             Business Days after the RSA is executed           in the Bankruptcy Court, (ii) a motion to reject
                                                               the O&M Contract is filed with the Bankruptcy
                                                               Court (iii) a motion to approve the New O&M
                                                               Agreement is filed with the Bankruptcy Court,
                                                               and (iv) the Plan and the Disclosure Statement
                                                               are filed with the Bankruptcy Court.
             11:59 p.m. (EST) on the date (x) that is five (5) unless the Bankruptcy Court has entered the
             days after the Petition Date                      Interim Cash Collateral Order, in a form
                                                               reasonably satisfactory to Cobra.
             11:59 p.m. (EST) on the date (x) that is thirty- unless the Bankruptcy Court has entered the
             five (35) days after the Petition Date            Interim Cash Collateral Order on a final basis
                                                               in a form reasonably satisfactory to Cobra.
             11:59 p.m. (EST) on the date that is sixty (60) unless the Bankruptcy Court has entered the

         11
              Capitalized terms used but not defined in this chart have the meanings given to such terms in the RSA.
26971921.1
                                                                  - 12 -
                       Case 20-11884-KBO        Doc 142-2        Filed 09/02/20   Page 29 of 70




             days after the Petition Date                     Disclosure Statement Order and an order
                                                              authorizing and approving the New O&M
                                                              Agreement.
             11:59 p.m. (EST) on the date that is one unless the Bankruptcy Court has entered the
             hundred twenty (120) days after the Petition Confirmation Order.
             Date
             11:59 p.m. (EST) on the date that is one unless the Company has substantially
             hundred fifty (150) days after the Petition Date consummated the Plan pursuant to its terms.
             (as such date may be extended pursuant to
             Section 8.14 of the RSA, the “Outside Date”)


                  Prior to entry into the RSA, on May 11, 2020, the Debtor sent a request letter (the
         “Capital Call Request”) to TSEH II, requesting a capital contribution of $475 million to fully
         satisfy the DOE Debt and provide the Debtor with access to additional working capital without
         the need to commence a chapter 11 case. The Debtor viewed this as necessary because the DOE
         indicated it would not agree to a compromise of the DOE Debt other than pursuant to the terms
         of the Plan. CEI responded on May 17, 2020, and indicated that if the relevant upstream requests
         were made of it, it was willing to initiate a process within CEI for approval of the funding of
         CEI’s pro rata share of the Capital Call Request, provided it receive confirmation of certain
         matters, including (i) that all members were willing to fund their pro rata share; (ii) that if the
         contribution were made, the new capital would be used to fully satisfy amounts owing to the
         DOE and that the United States would provide releases of all claims held by the United States
         related to or arising from the Project; and (iii) that all parties would undertake, as a condition to
         funding, a restructuring of the Project. SR CSP, on the other hand, responded to the Capital Call
         Request on May 16, 2020 and again on May 18, 2020, and essentially questioned the Debtor’s
         good faith in making the request while also making various information requests relating to the
         request. On May 21, 2020, the Debtor responded to each of SR CSP and CEI, provided certain
         of the requested information, and asked that each confirm by May 26, 2020, whether it intended
         to cause the requested capital contribution and provide evidence of their financial wherewithal to
         do so. Neither party, however, responded. Thus, entry into the RSA became the Debtor’s only
         viable option to address the issues it faced.

                           4.     Postpetition Financing.

                 The Debtor’s Cash Collateral is its sole source of funding for its operations and the costs
         of administering the Chapter 11 Case. The DOE has consented to the Debtor’s use of Cash
         Collateral, subject to the terms of the Cash Collateral Orders (as defined below). As a result, the
         Debtor does not believe that entry into a debtor in possession financing facility is necessary at
         this time. The DOE’s consent is based, in part, on Cobra’s agreement (the “Backstop
         Agreement”) to reimburse the DOE for certain postpetition expenses, in the event the
         restructuring is not consummated due to, among other things, the failure to achieve the
         milestones set forth in the RSA. This agreement is embodied in an agreement between the DOE
         and Cobra, which will be included within the Plan Supplement that is being filed with the Court.

                More particularly, pursuant to the Backstop Agreement, Cobra has delivered to the
         Collateral Agent, for the benefit of DOE, a standby letter of credit in the aggregate stated amount
26971921.1
                                                        - 13 -
                     Case 20-11884-KBO         Doc 142-2         Filed 09/02/20   Page 30 of 70




         of $23,150,000 (the “Settlement Letter of Credit”). Pursuant to the Backstop Agreement,
         following DOJ’s affirmative vote to accept the Plan, Cobra is required to deliver an additional
         standby letter of credit from an issuing bank acceptable to DOE with a total face value of
         $176,850,000 (the “Final Letter of Credit”), which amount represents the difference between
         the aggregate stated amount of the Settlement Letter of Credit and $200,000,000, which is the
         amount of the cash payment to be made to DOE on the Effective Date. The Backstop Agreement
         further provides that the Collateral Agent is entitled to draw on the Settlement Letter of Credit in
         an amount equal to the aggregate Reimbursable Post-Petition Costs (as defined in the Backstop
         Agreement) up to the date of draw in the event Cobra materially breaches its obligations under
         the RSA or the Backstop Agreement, to the extent such breach is not timely cured, or a case
         milestone as set out in the RSA is not timely achieved other than due to any action or inaction by
         the Collateral Agent, DOE, DOJ, or any other agency, division, or department of the United
         States of America other than the Court or the United States Trustee for the District of Delaware.
         Further, in the event Cobra materially breaches its obligations under the Backstop Agreement or
         the RSA following DOJ’s affirmative vote to accept the Plan, the Backstop Agreement provides
         that the Collateral Agent is entitled to draw on the Settlement Letter of Credit and the Final
         Letter of Credit in full.

                  Relatedly, ACS has delivered a promissory note to the Collateral Agent, for the benefit of
         DOE, in the face amount of $176,850,000 (the “ACS Note”). The ACS Note becomes
         immediately due and owing to the Collateral Agent in the event Cobra fails to timely deliver to
         the Collateral Agent the Final Letter of Credit in accordance with the Backstop Agreement. In
         addition, Cobra’s failure to timely deliver the Final Letter of Credit to the Collateral Agent
         would give the Collateral Agent the right to immediately draw on the Settlement Letter of Credit
         in full.

                F.      The Debtor’s Goals in the Chapter 11 Case

                 The Debtor has commenced the Chapter 11 Case to effectuate a consensual financial
         restructuring pursuant to the terms of the Plan. As a result of the Restructuring, the Debtor will
         emerge from the Chapter 11 Case with a reduced debt burden that is better aligned with its
         present and future operating prospects. The Debtor is well-positioned to emerge quickly from
         chapter 11 with a renewed focus on obtaining full operational capacity. To that end, the Debtor
         intends to seek prompt confirmation of the Plan.

                                                   ARTICLE III

                                            THE CHAPTER 11 CASE

                A.      General Case Background

                 On the date hereof, the Debtor filed a voluntary petition in the Bankruptcy Court for
         relief under chapter 11 of the Bankruptcy Code. The Debtor continues to operate its business
         and manage its properties as debtor in possession pursuant to sections 1107 and 1108 of the
         Bankruptcy Code. As of the date hereof, no request has been made for the appointment of a
         trustee or examiner in the Chapter 11 Case.


26971921.1
                                                        - 14 -
                     Case 20-11884-KBO         Doc 142-2        Filed 09/02/20   Page 31 of 70




                B.      Employment and Compensation of Professionals

                 Prior to the Petition Date, to assist the Debtor in carrying out its duties as debtor in
         possession, and to otherwise represent its interests in the Chapter 11 Case, the Debtor retained
         the following professionals subject to Bankruptcy Court approval:

                               • Willkie Farr & Gallagher LLP (“Willkie”) as bankruptcy co-counsel;

                               • Young Conaway Stargatt & Taylor, LLP (“Young Conaway”) as
                                 bankruptcy co-counsel;

                               • Wilson Sonsini Goodrich & Rosati (“Wilson Sonsini”) as special
                                 corporate counsel;

                               • FTI Consulting as interim manager;

                               • Houlihan Lokey as valuation expert; and

                               • Epiq Corporate Restructuring, LLC as claims and noticing agent and
                                 administrative advisor.

                C.      “First Day” Motions and Related Applications

                To minimize the possible disruption to the Debtor upon the filing of this chapter 11 case,
         among other reasons, on the Petition Date, the Debtor has filed concurrently herewith the
         following motions with the Bankruptcy Court:

                        a.     Debtor’s Motion for Interim and Final Orders Pursuant to Bankruptcy Code
                               Sections 105(a), 361, 362, 363, 507, and 552, Bankruptcy Rules 2002, 4001,
                               and 9014, and Local Rule 4001-2 (I) Authorizing Use of Cash Collateral,
                               (II) Granting Adequate Protection to the Prepetition Secured Parties, (III)
                               Scheduling a Final Hearing Pursuant to Bankruptcy Rule 4001(b)(2), and
                               (IV) Granting Related Relief (the “Cash Collateral Motion”);

                        b.     Debtor’s Motion for Interim and Final Orders (I) Authorizing the Debtor to
                               (A) Continue to Maintain Its Cash Management System, Including Bank
                               Accounts and Business Forms, (B) Honor Certain Prepetition Obligations
                               Related Thereto; (II) Waiving (A) Certain Operating Guidelines, and
                               (B) Section 345(b) Deposit and Investment Requirements; and
                               (III) Granting Related Relief (the “Cash Management Motion”);

                        c.     Debtor’s Motion for Entry of Interim and Final Orders, Pursuant to Sections
                               105(a), 363(b), 503(b)(9), 1107(a), and 1108 of the Bankruptcy Code,
                               (I) Authorizing the Debtor to Pay Certain Prepetition Claims of (A) Critical
                               Vendors and Service Providers and (B) Certain Vendors Entitled to
                               Administrative Expense Priority Under Section 503(b)(9) of the Bankruptcy
                               Code; and (II) Authorizing Banks to Honor and Process Check and

26971921.1
                                                       - 15 -
                     Case 20-11884-KBO         Doc 142-2         Filed 09/02/20   Page 32 of 70




                                Electronic Transfer Requests Related Thereto (the “Critical Vendor
                                Motion”);

                        d.      Debtor’s Application for an Order Appointing Epiq Corporate
                                Restructuring, LLC as Claims and Noticing Agent Effective as of the
                                Petition Date (the “Section 156(c) Application”);

                        e.      Debtor’s Motion for Entry of Interim and Final Orders (I) Approving the
                                Debtor’s Proposed Adequate Assurance of Payment for Future Utility
                                Services, (II) Prohibiting Utility Companies From Altering, Refusing, or
                                Discontinuing Services, (III) Approving the Debtor’s Proposed Procedures
                                for Resolving Adequate Assurance Requests, and (IV) Granting Related
                                Relief (the “Utilities Motion”);

                        f.      Debtor’s Motion for Entry of Interim and Final Orders (I) Authorizing the
                                Payment of Prepetition Sales, Use, and Franchise Taxes and Similar Taxes
                                and Fees, (II) Authorizing Banks and Other Financial Institutions to
                                Receive, Process, Honor, and Pay Checks Issued and Electronic Payment
                                Requests Made Relating to the Foregoing, and (III) Scheduling Final
                                Hearing (the “Tax Motion”).

                        g.      Debtor’s Motion for Entry of an Order Authorizing Rejection of Operations
                                and Maintenance Agreement (the “Rejection Motion”). The Rejection
                                Motion will not be heard as a first day motion, but rather when scheduled
                                by the Court.

                        h.      Debtor’s Motion for Entry of an Order Approving the New Operations and
                                Maintenance Agreement (the “Approval Motion”). The Approval Motion
                                will not be heard as a first day motion, but rather when scheduled by the
                                Court.

                D.      Exclusivity

                  Under the Bankruptcy Code, a debtor has the exclusive right to file a plan or plans for an
         initial period of 120 days from the date on which the debtor filed its bankruptcy petition. If a
         debtor files a plan within this exclusive period, then the debtor has the exclusive right for 180
         days from the Petition Date to solicit acceptances of its plan. During these exclusive periods, no
         other party in interest may file a competing plan. A court may extend these periods upon request
         of a party in interest and “for cause.”

                The Debtor’s initial exclusive filing period expires on [ ]November 27, 2020, and the
         Debtor’s initial exclusive solicitation period expires on [ ]January 26, 2020.




26971921.1
                                                        - 16 -
                    Case 20-11884-KBO          Doc 142-2         Filed 09/02/20   Page 33 of 70




                                                   ARTICLE IV

                                           SUMMARY OF THE PLAN

                 The Debtor believes that the Plan is in the best interests of the Debtor and its estate.
         Through the Plan, Holders of Allowed Claims will obtain a recovery from the Debtor’s estates
         equal to or greater than the that they would receive if the Debtor’s assets were liquidated under
         chapter 7 of the Bankruptcy Code and consummation of the Plan will maximize the recovery of
         the Holders of Allowed Claims.

                 The consummation of a plan is the principal objective of a chapter 11 case. A plan sets
         forth the means for treating Claims against, and Interests in, a debtor. Confirmation of a plan
         makes the plan binding upon the debtor, any issuer of securities under the plan and any creditor
         of, or equity Holder in, the debtor, whether or not such creditor or equity Holder (i) is impaired
         under or has accepted the plan or (ii) receives or retains any property under the plan.

                 Subject to certain limited exceptions and other than as provided in the Plan itself or the
         Confirmation Order, a Confirmation Order discharges the debtor from any debt that arose prior
         to the Effective Date and substitutes therefor the obligations specified under the confirmed plan.

                 A chapter 11 plan may specify that the legal, contractual and equitable rights of the
         Holders of Claims or Interests in certain classes are to remain unaltered by the reorganization
         effectuated by the plan. Such classes are referred to as “unimpaired” and, because of such
         favorable treatment, are deemed to accept the plan. Accordingly, a debtor need not solicit votes
         from the Holders of Claims or Interests in such classes. A chapter 11 plan may also specify that
         certain classes will not receive any distribution of property or retain any Claim or Interest against
         a debtor. Such classes are deemed not to accept the plan and, therefore, need not be solicited to
         vote to accept or reject the plan. Any class that receives a distribution of property under the plan
         but are impaired will be solicited to vote to accept or reject the plan.

                 Prior to soliciting acceptances of the proposed plan, section 1125 of the Bankruptcy Code
         requires a debtor to prepare a disclosure statement containing adequate information of a kind,
         and in sufficient detail, to enable a hypothetical reasonable investor to make an informed
         judgment regarding the plan. To satisfy the requirements of section 1125 of the Bankruptcy
         Code, the Debtor is submitting this Disclosure Statement to Holders of Claims against the Debtor
         who are entitled to vote to accept or reject the Plan.

              THE REMAINDER OF THIS SECTION PROVIDES A SUMMARY OF THE
         STRUCTURE AND MEANS FOR IMPLEMENTATION OF THE PLAN AND THE
         CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS UNDER THE
         PLAN. THIS SECTION IS QUALIFIED IN ITS ENTIRETY BY AND IS SUBJECT TO THE
         PLAN AS WELL AS THE EXHIBITS THERETO AND DEFINITIONS THEREIN.

              STATEMENTS AS TO THE RATIONALE UNDERLYING THE TREATMENT OF
         CLAIMS AND INTERESTS UNDER THE PLAN ARE NOT INTENDED TO, AND SHALL
         NOT, WAIVE, COMPROMISE OR LIMIT ANY RIGHTS, CLAIMS OR CAUSES OF
         ACTION IN THE EVENT THE PLAN IS NOT CONFIRMED.

26971921.1
                                                        - 17 -
                     Case 20-11884-KBO         Doc 142-2        Filed 09/02/20   Page 34 of 70




                 The classification and treatment of Claims and Interests; treatment of Executory
         Contracts and Unexpired Leases; and effect of Confirmation, including the release, injunction
         and related provisions, are summarized below. For all other provisions relating to the Plan,
         including acceptance or rejection of the Plan; implementation of the Plan; provisions governing
         distributions; provisions regarding governance of the Reorganized Debtor; conditions precedent
         to Confirmation and effectiveness of the Plan; modification, revocation or withdrawal of the Plan
         and retention of jurisdiction, please refer to the Plan attached hereto as Appendix A.

                A.      Overview of the Plan

                The Plan provides for, among other things:

                               • A $200 million cash payment, plus a $100 million contingent note to
                                 be guaranteed by Cobra, with Cobra funding the Company’s
                                 obligations under the Plan through new debt financing and cash to be
                                 provided on the Effective Date of the Plan;

                               • Mutual releases of Claims on the terms set forth in the Plan;

                               • Release of claims held by third parties on the terms set forth in the
                                 Plan;

                               • Dismissal of the ICC Arbitration;

                               • Cobra or a Cobra Designee to own 100% of the Company upon the
                                 Effective Date;

                               • the unimpairment of all other Claims, as set forth in the Plan.

                B.      Classification and Treatment of Claims and Interests

                 Section 1123 of the Bankruptcy Code provides that a plan must classify the claims and
         interests of a Debtor’s creditors and equity Interest Holders. In accordance with section 1123 of
         the Bankruptcy Code, the Plan divides Claims and Interests into Classes and sets forth the
         treatment for each Class (other than Administrative Expense Claims and Priority Tax Claims,
         which pursuant to section 1123(a)(1) of the Bankruptcy Code need not be and have not been
         classified). The Debtor also is required, under section 1122 of the Bankruptcy Code, to classify
         Claims against and Interests in the Debtor into Classes that contain Claims and Interests that are
         substantially similar to the other Claims and Interests in such Class.

                 The Bankruptcy Code also requires that a plan provide the same treatment for each Claim
         or Interest of a particular class unless the Claim Holder or Interest Holder agrees to a less
         favorable treatment of its claim or interest. The Debtor believes that it has complied with such
         standard. If the Bankruptcy Court finds otherwise, however, it could deny Confirmation of the
         Plan if the Holders of Claims and Interests affected do not consent to the treatment afforded them
         under the Plan.


26971921.1
                                                       - 18 -
                    Case 20-11884-KBO          Doc 142-2         Filed 09/02/20   Page 35 of 70




                 A Claim or Interest is placed in a particular Class only to the extent that the Claim or
         Interest falls within the description of that Class and is classified in other Classes to the extent
         that any portion of the Claim or Interest falls within the description of such other Classes. A
         Claim also is placed in a particular Class for the purpose of receiving distributions pursuant to
         the Plan only to the extent that such Claim is an Allowed Claim in that Class and such Claim has
         not been paid, released or otherwise settled prior to the Effective Date.

                The Debtor believes that the Plan has classified all Claims and Interests in compliance
         with the provisions of section 1122 of the Bankruptcy Code and applicable case law.

                 It is possible that a Holder of a Claim or Interest may challenge the Debtor’s
         classification of Claims and Interests and that the Bankruptcy Court may find that a different
         classification is required for the Plan to be confirmed. If such a situation develops, the Debtor
         intends, in accordance with the terms of the Plan, to make such permissible modifications to the
         Plan as may be necessary to permit its Confirmation. Any such reclassification could materially
         adversely affect Holders of Claims and Interests by changing the composition of one or more
         Classes and the vote required of such Class or Classes for approval of the Plan. EXCEPT AS
         SET FORTH IN THE PLAN, UNLESS SUCH MODIFICATION OF CLASSIFICATION
         MATERIALLY ADVERSELY AFFECTS THE TREATMENT OF A HOLDER OF A CLAIM
         OR INTERESTS AND REQUIRES RE-SOLICITATION, ACCEPTANCE OF THE PLAN BY
         ANY HOLDER OF A CLAIM OR INTEREST PURSUANT TO THIS SOLICITATION WILL
         BE DEEMED TO BE A CONSENT TO THE PLAN’S TREATMENT OF SUCH HOLDER OF
         A CLAIM OR INTEREST REGARDLESS OF THE CLASS AS TO WHICH SUCH HOLDER
         ULTIMATELY IS DEEMED TO BE A MEMBER.

                 Any changes to any of the assumptions underlying the estimated Allowed amounts could
         result in material adjustments to recovery estimates provided herein and/or the actual distribution
         received by Creditors. The projected recoveries are based on information available to the Debtor
         as of the date hereof and reflect the Debtor’s views as of the date hereof only.

                 The classification of Claims and Interests and the nature of distributions to members of
         each Class are summarized below. The Debtor believes that the consideration, if any, provided
         under the Plan to Holders of Claims and Interests reflects an appropriate resolution of the Claims
         and Interests, taking into account the differing nature and priority of such Claims and Interests.
         The Bankruptcy Court must find, however, that a number of statutory tests are met before it may
         confirm the Plan. Many of these tests are designed to protect the interests of Holders of Claims
         or Interests who are not entitled to vote on the Plan, or do not vote to accept the Plan, but who
         will be bound by the provisions of the Plan if it is confirmed by the Bankruptcy Court.

                        1.      Administrative Expense Claims, Priority Tax Claims and Statutory Fees

                                a)     Administrative Expense Claims

                                       (i)     Treatment of Administrative Expense Claims

                 Except to the extent that a holder of an Allowed Administrative Expense Claim agrees to
         a different treatment, or as otherwise expressly provided herein, on the later of (i) the Effective
         Date, or as soon thereafter as is reasonably practicable, or (ii) the date on which an
26971921.1
                                                        - 19 -
                     Case 20-11884-KBO          Doc 142-2         Filed 09/02/20   Page 36 of 70




         Administrative Expense Claim is Allowed, the holder of such Allowed Administrative Expense
         Claim shall receive Cash from the Debtor in an amount equal to such Allowed Claim; provided,
         however, that Allowed Administrative Expense Claims representing liabilities incurred in the
         ordinary course of business by the Debtor, as debtor in possession, shall be paid by the Debtor in
         the ordinary course of business, consistent with past practice and in accordance with the terms
         and subject to the conditions of any orders or agreements governing, instruments evidencing, or
         other documents relating to, such liabilities.

                Claims for adequate protection under the Cash Collateral Order shall be deemed Allowed
         Administrative Expense Claims to the extent payable under the Cash Collateral Order or the
         Plan, without the necessity of filing a proof of claim with respect thereto, and shall be paid in full
         on the Effective Date or as is reasonably practicable as set forth in Section 3.1 of the Plan
         without the need to file a proof of such Claims with the Bankruptcy Court in accordance with
         Section 3.2(a) of the Plan and without further order of the Bankruptcy Court.

                                b)      Professional Fee Claims

                 Except to the extent that the applicable holder of an Allowed Professional Fee Claim
         agrees to less favorable treatment with the Debtor, or as otherwise expressly set forth in the Plan,
         each holder of a Professional Fee Claim shall be paid in full in Cash pursuant to Section 3.2 of
         the Plan.

                                        (i)     Fee Applications

                 All requests for payment of Professional Fee Claims must be filed with the Bankruptcy
         Court by the date that is 60 calendar days after the Effective Date; provided that if any
         Professional Person is unable to file its own request with the Bankruptcy Court, such
         Professional Person may deliver an original, executed copy and an electronic copy to the
         Debtor’s attorneys and the Debtor at least three Business Days before the deadline, and the
         Debtor’s attorneys shall file such request with the Bankruptcy Court. The objection deadline
         relating to a request for payment of Professional Fee Claims shall be 4:00 p.m. (prevailing
         Eastern Time) on the date that is 30 days after filing such request, and a hearing on such request,
         if necessary, shall be held no later than 30 calendar days after the objection deadline.
         Distributions on account of Allowed Professional Fee Claims shall be made as soon as
         reasonably practicable after such Claims become Allowed.

                                        (ii)    Post-Effective Date Fees

                Upon the Effective Date, any requirement that Professional Persons comply with sections
         327 through 331 of the Bankruptcy Code in seeking retention or compensation for services
         rendered after such date shall terminate, and the Debtor may employ and pay all Professional
         Persons without any further notice to, action by or order or approval of the Bankruptcy Court or
         any other party.

                                        (iii)   Fee Escrow Account

                On the Effective Date, the Debtor shall establish and fund the Fee Escrow Account. The
         Debtor shall fund the Fee Escrow Account with Cash equal to the Debtor’s good faith estimate of
26971921.1
                                                         - 20 -
                     Case 20-11884-KBO          Doc 142-2        Filed 09/02/20   Page 37 of 70




         the Allowed Professional Fee Claims. Funds held in the Fee Escrow Account shall not be
         considered property of the Debtor’s Estate or property of the Debtor, but shall revert to the
         Debtor only after all Allowed Professional Fee Claims have been paid in full. Fees owing to the
         applicable holder of an Allowed Professional Fee Claim shall be paid in Cash to such holder
         from funds held in the Fee Escrow Account when such Claims are Allowed by an order of the
         Bankruptcy Court or authorized to be paid under a Final Order authorizing interim compensation
         of Professional Persons; provided, that the Debtor’s obligations with respect to Allowed
         Professional Fee Claims shall not be limited by nor deemed limited to the balance of funds held
         in the Fee Escrow Account. To the extent that funds held in the Fee Escrow Account are
         insufficient to satisfy the amount of accrued Allowed Professional Fee Claims, each holder of an
         Allowed Professional Fee Claim shall have an Allowed Administrative Expense Claim for any
         such deficiency, which shall be satisfied in accordance with Section 3.2 of the Plan. No Liens,
         claims, or interests shall encumber the Fee Escrow Account in any way.

                                        (iv)    U.S. Trustee Fees

                 The Debtor shall pay all outstanding U.S. Trustee Fees on an ongoing basis on the date
         such U.S. Trustee Fees become due, until such time as a final decree is entered closing the
         Chapter 11 Case, or the Chapter 11 Case is converted or dismissed, or the Bankruptcy Court
         orders otherwise.

                                        (v)     Treatment of Priority Tax Claims

                 Except to the extent that the applicable holder of an Allowed Priority Tax Claim has been
         paid by the Debtor before the Effective Date, or the Debtor and such holder agree to less
         favorable treatment by the Debtor, each holder of an Allowed Priority Tax Claim shall receive,
         on account of such Allowed Priority Tax Claim, at the option of the Debtor (a) payment in full in
         Cash made on or as soon as reasonably practicable after the later of the Effective Date and the
         first Distribution Date occurring at least 20 calendar days after the date such Claim is Allowed,
         (b) regular installment payments in accordance with section 1129(a)(9)(C) of the Bankruptcy
         Code or (c) such other amounts and in such other manner as may be determined by the
         Bankruptcy Court to provide the holder of such Allowed Priority Tax Claim deferred Cash
         payments having a value, as of the Effective Date, equal to such Allowed Priority Tax Claim.

                The Debtor shall have the right, in its sole discretion, to pay any Allowed Priority Tax
         Claim or any remaining balance of an Allowed Priority Tax Claim (together with accrued but
         unpaid interest) in full at any time on or after the Effective Date without premium or penalty.

                        2.      Classification of Claims and Interests

                 Pursuant to sections 1122 and 1123 of the Bankruptcy Code, Claims and Interests are
         classified for all purposes, including as set forth herein. A Claim or Interest shall be deemed
         classified in a particular Class only to the extent that the Claim or Interest qualifies within the
         description of that Class, and shall be deemed classified in a different Class to the extent that any
         remainder of such Claim or Interest qualifies within the description of such different Class. A
         Claim or Interest is in a particular Class only to the extent that such Claim or Interest is Allowed
         in that Class and has not been paid or otherwise satisfied prior to the Effective Date. Any Claim

26971921.1
                                                        - 21 -
                     Case 20-11884-KBO          Doc 142-2         Filed 09/02/20   Page 38 of 70




         or Interest that has been paid or satisfied, or any Claim or Interest that has been amended or
         superseded, may be adjusted or expunged on the official claims register without a claims
         objection having to be filed and without any further notice to or action, order or approval of the
         Bankruptcy Court.

                Except as otherwise specifically provided for in the Plan, the Confirmation Order or other
         order of the Bankruptcy Court, or required by applicable non-bankruptcy law, in no event shall
         any Holder of an Allowed Claim be entitled to receive payments that in the aggregate exceed the
         Allowed amount of such Holder’s Claim.

                                a)      Treatment of Claims Against and Interests in the Debtor

                                        (i)     Class 1 – Priority Non-Tax Claims

                 The legal, equitable and contractual rights of the holders of Priority Non-Tax Claims are
         unaltered by the Plan. Except to the extent that a holder of an Allowed Priority Non-Tax Claim
         agrees to a different treatment, on the applicable Distribution Date, each holder of an Allowed
         Priority Non-Tax Claim shall receive Cash from the Debtor in an amount equal to such Allowed
         Claim.

                                        (ii)    Class 2 – Other Secured Claims

                 The legal, equitable and contractual rights of the holders of Other Secured Claims are
         unaltered by the Plan. Except to the extent that a holder of an Allowed Other Secured Claim
         agrees to a different treatment, on the Effective Date, or as soon as reasonably practicable
         thereafter, each holder of an Allowed Other Secured Claim shall each receive, subject to the
         terms of the Plan, in full and final satisfaction, settlement, release and discharge of its Allowed
         Other Secured Claim, at the election of the Debtor:

                                                (a)    Cash in an amount equal to such Allowed Other
                                                       Secured Claim; or

                                                (b)    such other treatment that will render such Other
                                                       Secured Claim unimpaired pursuant to section 1124
                                                       of the Bankruptcy Code;

         provided, however, that Other Secured Claims incurred by the Debtor in the ordinary course of
         business may be paid in the ordinary course of business in accordance with the terms and
         conditions of any agreements relating thereto, in the discretion of the Debtor without further
         notice to or order of the Bankruptcy Court.

                 Each holder of an Allowed Other Secured Claim shall retain the Liens securing its
         Allowed Other Secured Claim as of the Effective Date until full and final satisfaction of such
         Allowed Other Secured Claim is made as provided in the Plan. On the full payment or other
         satisfaction of each Allowed Other Secured Claim in accordance with the Plan, the Liens
         securing such Allowed Other Secured Claim shall be deemed released, terminated and
         extinguished, in each case without further notice to or order of the Bankruptcy Court, act or

26971921.1
                                                         - 22 -
                    Case 20-11884-KBO           Doc 142-2        Filed 09/02/20   Page 39 of 70




         action under applicable law, regulation, order or rule or the vote, consent, authorization or
         approval of any Person.

                                        (iii)   Class 3 – Prepetition Note Claims

                 The Prepetition Note Claims shall be Allowed under the Plan and shall not be subject to
         any avoidance, reductions, setoff, offset, recoupment, recharacterization, subordination (whether
         equitable, contractual or otherwise), counterclaims, cross-claims, defenses, disallowance,
         impairment, objection or any other challenges under any applicable law or regulation by any
         Person. On the Effective Date, DOE, as the holder of the Allowed Prepetition Note Claims, shall
         receive, subject to the terms of the Plan, in full and final satisfaction, settlement, release and
         discharge of its Allowed Prepetition Note Claims, (a) $200 million in Cash (which shall be
         satisfied by DOE by a draw on the Cobra Backstop Letter of Credit) and (b) all rights and
         obligations under the Exit Contingent Note. On the Effective Date, the Debtor shall also pay in
         full in Cash all outstanding fees and expenses incurred by the Prepetition Collateral Agent to the
         extent due and owing under the Collateral Agency Agreement.

                 Upon payment of the$200 $200 million in Cash provided in § 5.3(a) of the Plan, the
         delivery of the executed Exit Contingent Note to DOE, and the payment in full in Cash of all
         outstanding fees and expenses of the Prepetition Collateral Agent as provided in § 5.3(a) of the
         Plan: (i) the Loan Servicer (on DOE’s behalf) shall conclusively be deemed to have provided
         written direction to the Prepetition Collateral Agent to release all Collateral it holds on behalf of
         the Secured Parties and to release all Liens thereon for the benefit of the Secured Parties; and (ii)
         the Loan Servicer shall conclusively be deemed to have certified to the Prepetition Collateral
         Agent that the Discharge Date under the Collateral Agency Agreement has occurred. On the
         Effective Date, and upon (x) payment of the $200 Million in Cash provided in § 5.3(a) of the
         Plan, (y) the delivery of the executed Exit Contingent Note to DOE, and (z) payment of all
         outstanding fees and expenses of the Prepetition Collateral Agent in full in Cash as provided in §
         5.3(a) of the Plan, the Prepetition Collateral Agent shall release to the Debtor all Collateral held
         for the benefit of the Secured Parties and any Liens on the Collateral held for the benefit of the
         Secured Parties. The Debtor shall pay all reasonable fees and expenses incurred by the
         Collateral Agent in complying with the previous sentence on or as soon as reasonably practicable
         after the Effective Date. Upon the release of the Collateral held by the Prepetition Collateral
         Agent for the benefit of the Secured Parties and the release of all Liens on the Prepetition
         Collateral held for the benefit of the Secured Parties, the duties, responsibilities, and obligations
         of the Prepetition Collateral Agent under the Collateral Agency Agreement shall terminate.

                                        (iv)    Class 4 – General Unsecured Claims

                  General Unsecured Claims are unimpaired Claims. Except to the extent that a holder of a
         General Unsecured Claim agrees to different treatment, each holder of an Allowed General
         Unsecured Claim shall receive treatment that: (i) leaves unaltered the legal, equitable, or
         contractual rights to which the holder of such Allowed General Unsecured Claim is entitled; or
         (ii) otherwise leaves such Allowed General Unsecured Claim unimpaired pursuant to section
         1124 of the Bankruptcy Code.



26971921.1
                                                        - 23 -
                     Case 20-11884-KBO          Doc 142-2         Filed 09/02/20   Page 40 of 70




                                        (v)     Class 5 – Existing Interests

                 Existing Interests shall be discharged, cancelled, released and extinguished, and holders
         thereof shall not receive or retain any distribution under the Plan on account of such Existing
         Interests.

                C.      Executory Contracts and Unexpired Leases

                The Bankruptcy Code requires a debtor to assume or reject all Executory Contracts and
         Unexpired Leases. The Debtor’s proposed treatment of all Executory Contracts and Unexpired
         Leases under the Plan are summarized below.

                        1.      General Treatment

                 As of and subject to the occurrence of the Effective Date and the payment of any
         applicable Cure Amount, all executory contracts and unexpired leases of the Debtor shall be
         deemed assumed except that: (a) any executory contracts and unexpired leases that previously
         have been assumed, assumed and assigned, or rejected pursuant to a Final Order of the
         Bankruptcy Court shall be treated as provided in such Final Order; (b) any executory contracts
         and unexpired leases listed on the Schedule of Rejected Contracts and Leases shall be deemed
         rejected as of the Effective Date; and (c) all executory contracts and unexpired leases that are the
         subject of a separate motion to assume or reject under section 365 of the Bankruptcy Code
         pending on the Effective Date shall be treated as provided for in the Final Order resolving such
         motion. Rejection of any executory contract or unexpired lease pursuant to the Plan or otherwise
         will not constitute a termination of obligations owed to the Debtor under such contract or lease
         that survive breach under applicable law. Subject to the occurrence of the Effective Date, entry
         of the Confirmation Order by the Bankruptcy Court shall constitute approval of the assumptions,
         assumptions and assignments and rejections described in Section 10.1 of the Plan pursuant to
         sections 365(a) and 1123 of the Bankruptcy Code. Each executory contract and unexpired lease
         assumed pursuant to Section 10.1 of the Plan shall revest in and be fully enforceable by the
         Debtor in accordance with its terms, except as modified by the provisions of the Plan, or any
         order of the Bankruptcy Court authorizing and providing for its assumption, or applicable federal
         law. Nothing contained in the Plan or the listing of a document on the Schedule of Rejected
         Contracts and Leases, or the Cure Schedule shall constitute an admission by the Debtor that such
         document is an executory contract or an unexpired lease or that the Debtor or its successors and
         assigns has any liability thereunder.

                        2.      Claims Based on Rejection of Executory Contracts or Unexpired Leases

                 All Claims arising from the rejection of executory contracts or unexpired leases, if
         evidenced by a timely filed proof of claim, will be treated as General Unsecured Claims. In the
         event that the rejection of an executory contract or unexpired lease by the Debtor pursuant to the
         Plan results in damages to the other party or parties to such contract or lease, a Claim for such
         damages, if not evidenced by a timely filed proof of claim, shall be forever barred and shall not
         be enforceable against the Debtor or its properties or interests in property or its agents,
         successors or assigns, unless a proof of claim is filed with the Bankruptcy Court and served upon
         counsel for the Debtor on or before the date that is thirty (30) days after the effective date of such

26971921.1
                                                         - 24 -
                     Case 20-11884-KBO          Doc 142-2         Filed 09/02/20   Page 41 of 70




         rejection (which may be the Effective Date, the date on which the Debtor rejects the applicable
         contract or lease as provided in Section 10.1 of the Plan, or pursuant to an order of the
         Bankruptcy Court).

                        3.      Cure of Defaults for Assumed Executory Contracts and Unexpired Leases

                  (a)      Except to the extent that less favorable treatment has been agreed to by the non-
         Debtor party or parties to each such executory contract or unexpired lease to be assumed or
         assumed and assigned pursuant to the Plan, any monetary defaults arising under such executory
         contract or unexpired lease shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy
         Code, by payment of the appropriate amount (the “Cure Amount”) in full in Cash on the later
         of: (i) the Effective Date; (ii) thirty (30) days after the date of entry of a Final Order providing
         for the assumption, or the assumption and assignment, of such executory contract or unexpired
         lease; or (iii) the date on which any Cure Dispute relating to such Cure Amount has been
         resolved (either consensually or through judicial decision).

                (b)    With respect to any executory contract or unexpired lease to be assumed or
         assumed and assigned pursuant to Section 10.1 of the Plan, the Debtor shall file a schedule (a
         “Cure Schedule”) with the Plan Supplement setting forth the Cure Amount, if any, for each
         executory contract or unexpired lease to be assumed or assumed and assigned by the Debtor.

                 (c)      In the event of a dispute (each, a “Cure Dispute”) regarding: (i) the Cure
         Amount; (ii) the ability of the Debtor to provide “adequate assurance of future performance”
         (within the meaning of section 365 of the Bankruptcy Code) under the contract or lease to be
         assumed or assumed and assigned; or (iii) any other matter pertaining to the proposed
         assumption or assumption and assignment, the cure payments required by section 365(b)(1) of
         the Bankruptcy Code shall be made following the entry of a Final Order resolving such Cure
         Dispute and approving the assumption or assumption and assignment. To the extent a Cure
         Dispute relates solely to the Cure Amount, the Debtor may assume and/or assume and assign the
         applicable contract or lease prior to the resolution of the Cure Dispute. To the extent the Cure
         Dispute is resolved or determined against the Debtor, the Debtor may reject the applicable
         executory contract or unexpired lease after such determination, and the counterparty may
         thereafter file a proof of claim in the manner set forth in Section 10.2 of the Plan.

                        4.      Effect of Confirmation Order on Assumption, Assumption and Assignment,
                                and Rejection.

                 Subject to the occurrence of the Effective Date, entry of the Confirmation Order by the
         Bankruptcy Court shall constitute entry of an order by the Bankruptcy Court pursuant to sections
         365(a) and 1123(b) of the Bankruptcy Code approving the assumptions, assumptions and
         assignments and rejections described in Article X of the Plan and determining that: (a) with
         respect to such rejections, such rejected executory contracts and unexpired leases are
         burdensome and that the rejection therein is in the best interests of the Estate; (b) with respect to
         such assumptions, to the extent necessary, that the Debtor has (i) cured, or provided adequate
         assurance that the Debtor will promptly cure, any default in accordance with section
         365(b)(1)(A) of the Bankruptcy Code, (ii) compensated or provided adequate assurance that it or
         an Affiliate will promptly compensate the counterparty for any actual pecuniary loss to such

26971921.1
                                                         - 25 -
                     Case 20-11884-KBO          Doc 142-2        Filed 09/02/20   Page 42 of 70




         party resulting from such default, and (iii) provided adequate assurance of future performance
         under such executory contract or unexpired lease; and (c) with respect to any assignment, to the
         extent necessary, that the Debtor or the proposed assignee has (i) cured, or provided adequate
         assurance that it or an Affiliate will promptly cure, any default in accordance with section
         365(b)(1)(A) of the Bankruptcy Code, (ii) compensated or provided adequate assurance that the
         Debtor or the proposed assignee will promptly compensate the counterparty for any actual
         pecuniary loss to such party resulting from such default, and (iii) that “adequate assurance of
         future performance” (within the meaning of section 365 of the Bankruptcy Code) by the assignee
         has been demonstrated and no further adequate assurance is required. Assumption of any
         executory contract or unexpired lease and satisfaction of the Cure Amounts shall result in the full
         discharge, release and satisfaction of any claims or defaults, whether monetary or nonmonetary,
         including defaults of provisions restricting the change in control or ownership interest
         composition or other bankruptcy-related defaults, arising under any assumed executory contract
         or unexpired lease at any time before the date such executory contract or unexpired lease is
         assumed. Each executory contract and unexpired lease assumed pursuant to Article X of the
         Plan shall revest in and be fully enforceable by the Debtor in accordance with its terms, except as
         modified by the provisions of the Plan, or any order of the Bankruptcy Court authorizing and
         providing for its assumption, or applicable federal law. To the maximum extent permitted by
         law, to the extent any provision in any executory contract or unexpired lease assumed pursuant to
         the Plan restricts or prevents, or purports to restrict or prevent, or is breached or deemed
         breached by, the assumption of such executory contract or unexpired lease (including any
         “change of control” provision), then such provision shall be deemed modified such that the
         transactions contemplated by the Plan shall not entitle the non-Debtor party thereto to terminate
         such executory contract or unexpired lease or to exercise any other default-related rights with
         respect thereto. Any party that fails to timely file a Cure Dispute on the basis that consent to
         assume or assume and assign the applicable executory contract or unexpired lease is a condition
         to such assumption or assumption and assignment, shall be deemed to have consented to the
         assumption or assumption and assignment, as applicable, of such contract or unexpired lease.

                        5.      Permits, Licenses, Easements and Similar Interests

                 Subject to the occurrence of the Effective Date, entry of the Confirmation Order by the
         Bankruptcy Court shall constitute entry of an order by the Bankruptcy Court pursuant to sections
         365(a) and 1123(b) of the Bankruptcy Code approving the assumptions of all permits, licenses,
         easements and similar interests unless any of the foregoing has been previously rejected or is
         rejected under the Plan or otherwise. To the extent permitted under applicable law, the Debtor
         shall be authorized, on and after the Effective Date, to operate under any license, permit,
         registration, and governmental authorization or approval of the Debtor, and pursuant to the terms
         of the Confirmation Order, all such licenses, permits, registrations, and governmental
         authorizations or approvals shall be deemed to be assumed by the Debtor as of the Effective
         Date. To the extent provided by section 525 of the Bankruptcy Code, and subject to entry of the
         Confirmation Order, no governmental unit may deny, revoke, suspend, or refuse to renew any
         permit, license, or similar grant relating to the operation of the Debtor on account of the filing or
         pendency of the chapter 11 case or the consummation of the transactions contemplated under the
         Plan.


26971921.1
                                                        - 26 -
                    Case 20-11884-KBO         Doc 142-2         Filed 09/02/20   Page 43 of 70




                 To the maximum extent permitted by law, any provision that purports to restrict or
         prevent the assumption or assignment of any such permit, license, easement or similar interest or
         is breached or deemed breached by the assumption or assignment of any such permit, license,
         easement or similar interest (including any “change of control” provision) shall be deemed
         modified such that the transactions contemplated by the Plan shall not entitle the non-Debtor
         party thereto to terminate such permit, license, easement or similar interest or to exercise other
         default-related rights with respect thereto. Any party that fails to timely file a Cure Dispute on
         the basis that consent to assume or assume and assign the applicable permit, license, easement or
         similar interest is a condition to such assumption or assumption and assignment, shall be deemed
         to have consented to such assumption or assumption and assignment.

                        6.     Assumption of Directors and Officers Insurance Policies

                 To the extent that the D&O Liability Insurance Policies issued to, or entered into by, the
         Debtor prior to the Petition Date constitute executory contracts, notwithstanding anything in the
         Plan to the contrary, the Debtor shall be deemed to have assumed all of its unexpired D&O
         Liability Insurance Policies pursuant to section 365(a) of the Bankruptcy Code effective as of the
         Effective Date. Entry of the Confirmation Order will constitute the Bankruptcy Court’s approval
         of the Debtor’s foregoing assumption of each of the D&O Liability Insurance Policies.
         Notwithstanding anything to the contrary contained in the Plan, confirmation of the Plan shall
         not discharge, impair or otherwise modify any advancement, indemnity or other obligations of
         the D&O Liability Insurance Policies.

                  In addition, after the Effective Date, the Debtor shall not terminate or otherwise reduce
         the coverage under any of the D&O Liability Insurance Policies with respect to conduct
         occurring prior thereto, and all directors, managers and officers of the Debtor who served in such
         capacity at any time prior to the Effective Date shall be entitled from the applicable insurers to
         the full benefits of any such policy for the full term of such policy regardless of whether such
         directors, managers and officers remain in such positions after the Effective Date.

                 On or before the Effective Date, the Debtor shall purchase and maintain directors,
         managers, officers and employee liability tail coverage for the six year period following the
         Effective Date on terms no less favorable than the Debtor’s existing director, manager, officer
         and employee coverage and with an aggregate limit of liability upon the Effective Date of no less
         than the aggregate limit of liability under the existing director, officer, manager and employee
         coverage upon placement. From and after the Effective Date, reasonable directors, managers and
         officers insurance policies shall remain in place in the ordinary course.

                        7.     Assumption of Certain Indemnification Obligations

                 Each Indemnification Obligation to a current or former director, officer, manager or
         employee who was employed by the Debtor in such capacity on or after the Petition Date
         (including, for the avoidance of doubt, the members of the board of directors, board of managers
         or equivalent body of the Debtor at any time) shall be deemed assumed effective as of the
         Effective Date. Each Indemnification Obligation that is deemed assumed pursuant to the Plan
         shall (a) remain in full force and effect, (b) not be modified, reduced, discharged, impaired or
         otherwise affected in any way, (c) be deemed and treated as an executory contract pursuant to

26971921.1
                                                       - 27 -
                     Case 20-11884-KBO         Doc 142-2         Filed 09/02/20   Page 44 of 70




         sections 365 and 1123 of the Bankruptcy Code regardless of whether or not proofs of claim have
         been filed with respect to such obligations and (d) survive Unimpaired and unaffected
         irrespective of whether such indemnification is owed for an act or event occurring before, on or
         after the Petition Date.

                 Any obligations of the Debtor (whether pursuant to its certificate of formation, operating
         agreement, limited liability company agreement, other organizational documents, board
         resolutions, member resolutions, indemnification agreements, employment contracts, policy of
         providing employee indemnification, applicable state law, specific agreement in respect of any
         claims, demands, suits, causes of action or proceedings against such Persons or agreements,
         including amendments, or otherwise) entered into at any time prior to the Effective Date, to
         indemnify, reimburse or limit the liability of the current and former directors, officers, managers,
         employees, attorneys, accountants, investment bankers and other professionals of the Debtor, as
         applicable, in each case, based upon any act or omission related to such Persons’ service with,
         for or on behalf of the Debtor prior to the Effective Date with respect to all present and future
         actions, suits and proceedings relating to the Debtor shall survive the Confirmation Order and,
         except as set forth in the Plan, remain unaffected thereby, and shall not be discharged,
         irrespective of whether such defense, indemnification, reimbursement or limitation of liability
         accrued or is owed in connection with an occurrence before or after the Petition Date. Any
         Claim based on the Debtor’s obligations set forth in Section 10.7 of the Plan shall not be a
         Disputed Claim or subject to any objection in either case by reason of section 502(e)(1)(B) of the
         Bankruptcy Code. The provision for indemnification obligations shall not apply to or cover any
         Causes of Action against a Person that result in a Final Order determining that such Person
         seeking indemnification is liable for fraud, willful misconduct, gross negligence, bad faith, self-
         dealing or breach of the duty of loyalty.

                  In connection with the foregoing, on the Effective Date, the Debtor shall establish and
         fund the Indemnification Escrow Account with Cash equal to $2,500,000. Funds held in the
         Indemnification Escrow Account shall not be considered property of the Debtor’s Estate,
         property of the Debtor and, to the extent such obligations are not satisfied by the Debtor or under
         any applicable D&O Liability Insurance Policy, such funds shall be utilized by the Debtor to
         satisfy the Debtor’s obligations under Section 10.7 of the Plan. Funds remaining in the
         Indemnification Escrow Account after six (6) years, if any, shall revert to and become property
         of the Debtor; provided, that (i) the Debtor’s obligations under Section 10.7 of the Plan shall not
         be limited by nor deemed limited to the balance of the funds held in the Indemnification Escrow
         Account, and (ii) such reversion shall not take place unless and until any claims that have been
         asserted and are covered by the Indemnification Escrow Account have been resolved. No Liens,
         claims or interests shall encumber the Indemnification Escrow Account in any way.

                D.      Implementation of the Plan

                        1.      Continued Existence and Vesting of Assets in Reorganized TSE.

                 (a)    Except as otherwise provided in the Plan, the Debtor shall continue to exist after
         the Effective Date as Reorganized TSE in accordance with the laws of the State of Delaware and
         pursuant to the Amended Constituent Documents for the purposes of satisfying its obligations
         under the Plan and the continuation of its business. On or after the Effective Date, Reorganized
26971921.1
                                                        - 28 -
                     Case 20-11884-KBO          Doc 142-2         Filed 09/02/20   Page 45 of 70




         TSE, in its discretion, may take such action as permitted by applicable law and the Amended
         Constituent Documents as Reorganized TSE may determine is reasonable and appropriate.

                 (b)     Except as otherwise provided in the Plan, on and after the Effective Date, all
         property of the Estate, wherever located, including all claims, rights and Causes of Action, and
         any property, wherever located, acquired by the Debtor under or in connection with the Plan,
         shall vest in Reorganized TSE free and clear of all Claims, Liens, charges, other encumbrances
         and Interests. On and after the Effective Date, Reorganized TSE may operate its business and
         may use, acquire and dispose of property, wherever located, and prosecute, compromise or settle
         any Claims (including any Administrative Expense Claims) and Causes of Action without
         supervision of or approval by the Bankruptcy Court and free and clear of any restrictions of the
         Bankruptcy Code or the Bankruptcy Rules other than restrictions expressly imposed by the Plan
         or the Confirmation Order. Without limiting the foregoing, Reorganized TSE may pay the
         charges that it incurs on or after the Effective Date for Professional Persons’ fees, disbursements,
         expenses or related support services without application to the Bankruptcy Court.

                  (c)      On the Effective Date or as soon as reasonably practicable thereafter, Reorganized
         TSE may take all actions that may be necessary or appropriate to effectuate any transaction
         described in, approved by, contemplated by, or necessary to effectuate the Plan, including: (1)
         the execution and delivery of appropriate agreements or other documents containing terms that
         are consistent with the terms of the Plan and that satisfy the requirements of applicable law and
         any other terms to which the applicable entities may agree; (2) the execution and delivery of
         appropriate instruments of transfer, assignment, assumption or delegation of any asset, property,
         right, liability, debt or obligation on terms consistent with the terms of the Plan and having other
         terms for which the applicable parties agree; (3) the filing of appropriate certificates or articles of
         formation, merger, consolidation, conversion, dissolution, or other organizational documents
         pursuant to applicable state law; and (4) all other actions that the applicable entities determine to
         be necessary or appropriate, including making filings or recordings that may be required by
         applicable law.

                        2.      Issuance of New Common Units to Cobra

                 In consideration for Cobra’s commitments and undertakings under the Plan, the New
         Common Units shall be issued on the Effective Date and distributed to Cobra (or a Cobra
         Designee) on the Effective Date or as soon as practicable thereafter, in accordance with the Plan
         and the terms of the Amended Constituent Documents. All of the New Common Units issuable
         in accordance with the Plan, when issued, shall be duly authorized, validly issued, fully paid, and
         non-assessable. The issuance of the New Common Units is authorized without the need for any
         further limited liability company, or other similar action and without any further action by any
         holder of an Allowed Claim or Interest.

               The New Common Units will not be listed on a national securities exchange,
         Reorganized TSE will not be a reporting company under the Securities Exchange Act, and
         Reorganized TSE shall not be required to and will not file reports with the SEC or any other
         governmental entity after the Effective Date.



26971921.1
                                                         - 29 -
                     Case 20-11884-KBO          Doc 142-2        Filed 09/02/20   Page 46 of 70




                        3.      Plan Value of New Common Units

                 For purposes of the Plan, the New Common Units shall have an aggregate deemed value
         equal to $100 million. Such deemed value is equal to the amount that will be drawn by DOE on
         the Cobra Backstop Letter of Credit pursuant to Section 5.3 of the Plan less the $100 million
         term loan component of the Exit Credit Facility.

                        4.      Working Capital Commitment

               Under the Exit Credit Facility, Cobra (or a Cobra Designee) shall provide Reorganized
         TSE with up to $50 million to fund the working capital and other needs of Reorganized TSE.

                        5.      Exit Credit Facility, Exit Contingent Note and New O&M Agreement

                 On the Effective Date, Reorganized TSE shall be authorized to enter into the Exit Credit
         Facility Agreement, Exit Contingent Note, and the Amended Constituent Documents without the
         need for any further limited liability company or other similar action. The entry of the
         Confirmation Order shall be deemed approval of the Exit Credit Facility Agreement, Exit
         Contingent Note, and the Amended Constituent Documents, and authorization for Reorganized
         TSE to enter into and execute the Exit Credit Facility Agreement, Exit Contingent Note, and the
         Amended Constituent Documents requiring execution and delivery by Reorganized TSE.

                 The obligations arising under the Exit Credit Facility Documents shall be secured by a
         senior priority perfected security interest in substantially all present and after acquired property
         and proceeds thereof of Reorganized TSE, subject to any exceptions and materiality thresholds
         acceptable to Cobra, as lender under the Exit Credit Facility Agreement. The Debtor is
         authorized to make all filings and recordings and to obtain all governmental approvals and
         consents necessary or desirable to establish and further evidence perfection of any Liens and
         security interests granted to secure the obligations under the Exit Credit Facility Documents
         under the provisions of any applicable federal, state, provincial, or other law (whether domestic
         or foreign) (it being understood that perfection shall occur automatically by virtue of the
         occurrence of the Effective Date, and any such filings, recordings, approvals, and consents shall
         not be required), and will thereafter cooperate to make all other filings and recordings that
         otherwise would be necessary under applicable law to give notice of such Liens and security
         interests to third parties.

                        6.      Cancellation of Existing Securities and Agreements

                 Except for the purpose of evidencing a right to distribution under the Plan, and except as
         otherwise set forth in the Plan, on the Effective Date, the Prepetition Note Financing Documents
         shall be deemed cancelled, discharged and of no further force or effect. The DOE, as holder of
         the Allowed Prepetition Note Claims, shall have no rights arising from or relating to such
         instruments, securities and other documentation or the cancellation thereof, except the rights
         provided for pursuant to the Plan.




26971921.1
                                                        - 30 -
                    Case 20-11884-KBO          Doc 142-2        Filed 09/02/20   Page 47 of 70




                        7.     Cancellation of Liens Pursuant to Cash Collateral Order

                 On the Effective Date, the Cash Collateral Order, including the use of cash collateral
         thereunder, shall be terminated. All Liens and security interests granted to secure obligations
         pursuant to the Cash Collateral Order shall be terminated and of no further force or effect,
         without the need for further Court approval, action or order. Reorganized TSE shall be entitled
         to take any action necessary to effectuate the discharge of any Lien under the Cash Collateral
         Order.

                        8.     Board of Managers

                 (a)     On the Effective Date, the board of managers of Reorganized TSE shall consist of
         five (5) individuals selected by Cobra, who shall be reasonably acceptable to the Debtor, and
         identified in the Plan Supplement to be filed with the Bankruptcy Court.

                 (b)    Unless reappointed pursuant to Section 7.6(a) of the Plan, the members of the
         board of managers of the Debtor prior to the Effective Date shall have no continuing obligations
         to the Debtor in their capacities as such on and after the Effective Date and each such member
         shall be deemed to have resigned or shall otherwise cease to be a manager of the Debtor on the
         Effective Date. Commencing on the Effective Date, each of the managers of the Debtor shall
         serve pursuant to the terms of the Amended Constituent Documents and be replaced or removed
         in accordance therewith.

                        9.     Organizational and Other Action

                 (a)    The Debtor shall serve on the U.S. Trustee quarterly reports of its disbursements
         until such time as a final decree is entered closing the Chapter 11 Case or the Chapter 11 Case is
         converted or dismissed, or the Bankruptcy Court orders otherwise. Any deadline for filing
         Administrative Expense Claims shall not apply to U.S. Trustee Fees.

                (b)     On the Effective Date, the Amended Constituent Documents and any other
         applicable amended and restated limited liability company or other organizational documents of
         the Debtor shall be deemed authorized in all respects.

                 (c)     Any action under the Plan to be taken by or required of the Debtor, including the
         adoption or amendment of its certificate of formation, limited liability company agreement or
         other organizational document, the issuance of limited liability company membership interests,
         securities and instruments, or the selection of officers or managers, shall be authorized and
         approved in all respects, without any requirement of further action by the Debtor’s equity
         holders, holders of partnership interests, sole member, board of managers, or similar body, as
         applicable.

                  (d)   The Debtor shall be authorized to execute, deliver, file, and record such
         documents (including the Plan Documents), contracts, instruments, releases and other
         agreements and take such other action as may be necessary to effectuate and further evidence the
         terms and conditions of the Plan, without the necessity of any further Bankruptcy Court, limited
         liability company, board or member approval or action. In addition, the selection of the Persons
         who will serve as the initial managers, officers and managers of Reorganized TSE as of the
26971921.1
                                                       - 31 -
                     Case 20-11884-KBO           Doc 142-2        Filed 09/02/20   Page 48 of 70




         Effective Date shall be deemed to have occurred and be effective on and after the Effective Date
         without any requirement of further action by the board of managers or equity holders of the
         applicable Reorganized TSE.

                        10.     Comprehensive Settlement of Claims and Controversies

                 Pursuant to Bankruptcy Rule 9019 and in consideration for the Plan Distributions and
         other benefits provided under the Plan, the provisions of the Plan will constitute a good faith
         compromise and settlement of all Claims and Causes of Action relating to the rights that a holder
         of a Claim or Interest may have with respect to any Allowed Claim or Allowed Interest or any
         Plan Distribution on account thereof. The entry of the Confirmation Order will constitute the
         Bankruptcy Court’s approval, as of the Effective Date, of the compromise or settlement of all
         such claims or controversies and the Bankruptcy Court’s finding that all such compromises or
         settlements are: (a) in the best interest of the Debtor, its Estate and its property and stakeholders;
         and (b) fair, equitable and reasonable.

                        11.     Transactions Authorized Under Plan

                On and after the Effective Date, the Debtor and Reorganized TSE, as applicable, shall be
         authorized to take such actions as may be necessary or appropriate to implement the transactions
         contemplated by the Plan and the other Plan Documents.

                        12.     Approval of Plan Documents

                  The solicitation of votes with respect to the Plan shall be deemed a solicitation for the
         approval of the Plan Documents and all transactions contemplated thereunder. Entry of the
         Confirmation Order shall constitute approval of the Plan Documents and such transactions. On
         the Effective Date, the Debtor and Reorganized TSE, as applicable, shall be authorized to enter
         into, file, execute and/or deliver each of the Plan Documents and any other agreement or
         instrument issued in connection with any Plan Document without the necessity of any further
         corporate, board, shareholder, manager, or similar action.

                        13.     Dismissal of the ICC Arbitration

                 Within three (3) Business Days of the Effective Date, Reorganized TSE and Cobra shall
         jointly request the dismissal with prejudice of the ICC Arbitration.

                E.      Effect of Confirmation

                Article XII of the Plan sets forth the effect of Confirmation of the Plan. The below
         summarizes, among other things, the Debtor’s proposed release, discharge and injunction
         provisions.

                        1.      Binding Effect

                 Except as otherwise provided in section 1141(d)(3) of the Bankruptcy Code and subject
         to the occurrence of the Effective Date, on and after the Confirmation Date, the provisions of the
         Plan shall bind any holder of a Claim against, or Interest in, the Debtor and inure to the benefit of
26971921.1
                                                         - 32 -
                     Case 20-11884-KBO          Doc 142-2        Filed 09/02/20   Page 49 of 70




         and be binding on such holder’s respective successors and assigns, whether or not the Claim or
         Interest of such holder is impaired under the Plan and whether or not such holder has accepted
         the Plan.

                        2.      Discharge of Claims Against and Interests in the Debtor

                 Upon the Effective Date and in consideration of the Plan Distributions, except as
         otherwise provided in the Plan or Confirmation Order (including with respect to Claims left
         unimpaired by the Plan), each Person that is a holder (as well as any trustees and agents for or on
         behalf of such Person) of a Claim or Interest shall be deemed to have forever waived, released,
         and discharged the Debtor, to the fullest extent permitted by section 1141 of the Bankruptcy
         Code, of and from any and all Claims, Interests, rights and liabilities that arose prior to the
         Effective Date. Except as otherwise provided in the Plan, upon the Effective Date, all such
         holders of Claims and Interests shall be forever precluded and enjoined, pursuant to sections 105,
         524, 1141 of the Bankruptcy Code, from prosecuting or asserting any such discharged Claim
         against or terminated Interest in the Debtor or any property, wherever located, of the Estate.

                        3.      Term of Pre-Confirmation Injunctions or Stays

                 Unless otherwise provided in the Plan, all injunctions or stays provided in the Chapter 11
         Case arising prior to the Confirmation Date in accordance with sections 105 or 362 of the
         Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, shall remain in full
         force and effect until the Effective Date.

                        4.      Injunction Against Interference with Plan

                 Upon the entry of the Confirmation Order, all holders of Claims and Interests and other
         Persons, along with their respective present or former Affiliates, employees, agents, officers,
         directors, or principals, shall be enjoined from taking any actions, whether in the United States or
         elsewhere, to interfere with the implementation or consummation of the Plan. Moreover,
         Bankruptcy Code section 1141(c) provides, among other things, that the property dealt with by
         the Plan is free and clear of all Claims and Interests (except as otherwise provided in the Plan or
         the Confirmation Order). As such, to the fullest extent permissible under applicable law, no
         Person holding a Claim or Interest may receive any payment from, or seek recourse against, any
         assets that are to be distributed under the Plan other than assets required to be distributed to that
         Person under the Plan. As of the Confirmation Date, to the fullest extent permissible under
         applicable law, all Persons are precluded and barred from asserting against any property to be
         distributed under the Plan any Claims, rights, Causes of Action, liabilities, Interests, or other
         action or remedy based on any act, omission, transaction, or other activity that occurred before
         the Confirmation Date except as expressly provided in the Plan or the Confirmation Order.

                        5.      Injunction

                 (a)     Except as otherwise specifically provided in the Plan or the Confirmation Order,
         as of the Confirmation Date, but subject to the occurrence of the Effective Date, all Persons or
         Entities who have held, hold or may hold Claims against and/or Interests in the Debtor or the
         Estate, and all other parties in interest, along with their present or former employees, agents,
         officers, directors, principals, representatives and Affiliates are, with respect to any such Claims
26971921.1
                                                        - 33 -
                     Case 20-11884-KBO          Doc 142-2         Filed 09/02/20   Page 50 of 70




         or Interests, permanently enjoined after the Confirmation Date from: (i) commencing,
         conducting or continuing in any manner, directly or indirectly, any suit, action or other
         proceeding of any kind (including any proceeding in a judicial, arbitral, administrative or other
         forum) against or affecting the Debtor, its Estate or any of its property, wherever located, or any
         direct or indirect transferee of any property, wherever located, of, or direct or indirect successor
         in interest to, any of the foregoing Persons or any property, wherever located, of any such
         transferee or successor; (ii) enforcing, levying, attaching (including any pre-judgment
         attachment), collecting or otherwise recovering by any manner or means, whether directly or
         indirectly, any judgment, award, decree or order against the Debtor, or its Estate or any of its
         property, wherever located, or any direct or indirect transferee of any property, wherever located,
         of, or direct or indirect successor in interest to, any of the foregoing Persons, or any property,
         wherever located, of any such transferee or successor; (iii) creating, perfecting or otherwise
         enforcing in any manner, directly or indirectly, any encumbrance of any kind against the Debtor
         or its Estate or any of its property, wherever located, or any direct or indirect transferee of any
         property, of, or successor in interest to, any of the foregoing Persons; (iv) acting or proceeding in
         any manner, in any place whatsoever, that does not conform to or comply with the provisions of
         the Plan to the full extent permitted by applicable law (including, without limitation,
         commencing or continuing, in any manner or in any place, any action that does not comply with
         or is inconsistent with the provisions of the Plan) to the fullest extent permitted by applicable
         law, or (v) asserting any right of setoff, subrogation or recoupment of any kind against any
         obligation due from the Debtor or its Estate, or against the property or interests in property of the
         Debtor or its Estate, with respect to any such Claim or Interest. Such injunction shall extend to
         any successors or assignees of the Debtor and its properties and interest in properties; provided,
         however, that nothing contained in the Plan shall preclude such Persons from exercising their
         rights, or obtaining benefits, pursuant to and consistent with the terms of the Plan.

                (b)    By accepting Plan Distributions, each holder of an Allowed Claim or Interest will
         be deemed to have specifically consented to the injunctions set forth in Section 12.5 of the Plan.

                        6.      Releases

                                a)      Releases by the Debtor

                 Pursuant to section 1123(b) of the Bankruptcy Code, and except as otherwise
         specifically provided in the Plan or the Confirmation Order, on and after the Effective Date,
         for good and valuable consideration, including their cooperation and contributions to the
         Chapter 11 Case, the Released Parties (other than the Debtor) shall be deemed released and
         discharged by the Debtor and its Estate from any and all Claims, obligations, debts, rights,
         suits, damages, Causes of Action, remedies and liabilities whatsoever, whether known or
         unknown, foreseen or unforeseen, asserted or unasserted, existing or hereinafter arising, in
         law, equity or otherwise, whether for tort, fraud, contract, violations of federal or state laws or
         otherwise, including the ICC Arbitration and the Avoidance Actions; Causes of Action based
         on veil piercing or alter-ego theories of liability, contribution, indemnification, joint liability or
         otherwise that the Debtor, its Estate could have asserted in their own right (whether
         individually or collectively) or on behalf of the holder of any Claim or Interest or other Entity
         or that any holder of a Claim or Interest or other Entity could have asserted derivatively for or
         on behalf of the Debtor, or its Estate, based on, relating to or in any manner arising from, in
26971921.1
                                                         - 34 -
                     Case 20-11884-KBO          Doc 142-2         Filed 09/02/20   Page 51 of 70




         whole or in part, the Debtor; its Estate; the purchase, sale or rescission of the purchase or
         sale of any security of the Debtor; the Crescent Dunes Solar Energy Project; the subject
         matter of, or the transactions or events giving rise to, any Claim or Interest that is treated in
         the Plan; the business or contractual arrangements between the Debtor and any Released
         Party (excluding any assumed executory contract or lease); the restructuring of Claims and
         Interests prior to or in the Chapter 11 Case; the negotiation, formulation or preparation of the
         Plan, the RSA, the Disclosure Statement, the Plan Supplement, the Chapter 11 Case, or, in
         each case, related agreements, instruments, or other documents or upon any other related act
         or omission, transaction, agreement, event or other occurrence taking place on or before the
         Effective Date.

                                b)      Debtor and Cobra Releases. The Debtor and Cobra only
         unconditionally and irrevocably release the DOE and the Prepetition Collateral Agent, and
         each of their respective financial advisors and attorneys, for any claims or Causes of Action
         arising out of or related to the Prepetition Note Claim and/or the Crescent Dunes Solar
         Energy Project.

                                c)     DOE Releases. DOE only unconditionally and irrevocably
         releases the Debtor and Cobra, and each of their respective financial advisors and attorneys,
         from (i) the Prepetition Note Claim and (ii) any claims or Causes of Action arising out of or
         relating to the Prepetition Note Claim and/or the Crescent Dunes Solar Energy Project.

                 Notwithstanding anything to the contrary in the Plan, including section 12.6(a),
         without conceding the existence or merits thereof, neither the above paragraphs nor the Plan
         releases: (i) any civil, criminal or administrative liability arising under Title 26 of the United
         States Code (the Internal Revenue Code); (ii) any criminal liability; (iii) any liability under
         subchapter III of chapter 37 of Title 31 of the United States Code; (iv) any liability that is
         based on conduct in violation of antitrust laws; (v) any claim of any agency of the United
         States of America other than DOE; and (vi) the Debtor’s and Cobra’s obligations under
         Section 5.3(b) of the Plan regarding the Prepetition Note Claim.

                                d)       Releases by the Third Party Releasing Parties. Except as
         otherwise specifically provided in the Plan or the Confirmation Order, on and after the
         Effective Date, for good and valuable consideration, including the obligations of the Debtor
         under the Plan, the Plan Consideration and other contracts, instruments, releases, agreements
         or documents executed and delivered in connection with the Plan, each Third Party Releasing
         Party who affirmatively opts to grant the releases set forth in the Plan shall be deemed to have
         consented to the Plan and the restructuring embodied therein for all purposes, and shall be
         deemed to have conclusively, absolutely, unconditionally, irrevocably and forever released and
         discharged the Released Parties from any and all Claims, Interests, obligations, debts, rights,
         suits, damages, Causes of Action, remedies and liabilities whatsoever, whether known or
         unknown, foreseen or unforeseen, asserted or unasserted, existing or hereinafter arising, in
         law, equity or otherwise, whether for tort, fraud, contract, violations of federal or state laws or
         otherwise, including the ICC Arbitration and the Avoidance Actions, Causes of Action based
         on veil piercing or alter-ego theories of liability, contribution, indemnification, joint liability or
         otherwise that such Third Party Releasing Party could have asserted (whether individually or
         collectively), based on, relating to or in any manner arising from, in whole or in part, the
26971921.1
                                                         - 35 -
                    Case 20-11884-KBO          Doc 142-2        Filed 09/02/20   Page 52 of 70




         Debtor; the Estate; the Chapter 11 Case; the purchase, sale or rescission of the purchase or
         sale of any security of the Debtor; the Crescent Dunes Solar Energy Project; the subject
         matter of, or the transactions or events giving rise to, any Claim or Interest that is treated in
         the Plan; the business or contractual arrangements between the Debtor and any Released
         Party (excluding any assumed executory contract or lease); the restructuring of Claims and
         Interests prior to or in the Chapter 11 Case; the negotiation, formulation or preparation of the
         Plan, the Restructuring Support Agreement, the Disclosure Statement, the Plan Supplement,
         the Prepetition Note Documents, or the Plan or the Disclosure Statement, or, in each case,
         related agreements, instruments or other documents, or upon any other related act or
         omission, transaction, agreement, event or other occurrence taking place on or before the
         Effective Date; provided, that any party that affirmatively opts out of chooses not to opt in to
         the releases contained in the Plan shall not receive the benefit of the releases set forth in the
         Plan (even if for any reason otherwise entitled). Notwithstanding anything contained in the
         Plan to the contrary, the foregoing release shall not release any obligation of any party under
         the Plan, or any other document, instrument, or agreement executed to implement the Plan.

                   Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
         pursuant to Bankruptcy Rule 9019, of the releases described in the Plan, which includes by
         reference each of the related provisions and definitions contained in the Plan, and further, shall
         constitute its finding that each release described in the Plan is: (i) in exchange for the good and
         valuable consideration provided by the Released Parties, a good faith settlement and compromise
         of such Claims; (ii) in the best interests of the Debtor and all Third Party Releasing Parties;
         (ii) fair, equitable and reasonable; (iv) given and made after due notice and opportunity for
         hearing; and (v) a bar to the Debtor and all Third Party Releasing Parties asserting any claim,
         Cause of Action or liability related thereto, of any kind whatsoever, against any of the Released
         Parties or their property.




26971921.1
                                                       - 36 -
                    Case 20-11884-KBO          Doc 142-2        Filed 09/02/20   Page 53 of 70




                        7.     Waiver of Limitations on Releases of Unknown Claims.

                        Each of the Debtor, the Third Party Releasing Parties and DOE agree to
         acknowledge that the releases contained in Sections 12.6(a), 12.6(b), 12.6(c) and 12.6(d) will
         extend to and release claims that such parties do not know or expect to exist at the time of
         the release, which, if known, might have affected the decision to enter into the release and
         which such parties will be deemed to waive, and will waive and relinquish to the fullest
         extent permitted by law, any and all provisions, rights, and benefits conferred by any law
         of the United States of America or any state or territory thereof, or principle of common
         law, which governs or limits a person's release of unknown claims that such parties will
         deemed to waive, and will waive and relinquish, to the fullest extent permitted by law, the
         provisions, rights, and benefits of Section 1542 of the California Civil Code, which provides
         as follows:

                        A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                        WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT
                        TO EXIST IN HIS OR HER FAVOR AT THE TIME OF
                        EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM
                        OR HER MUST HAVE MATERIALLY AFFECTED HIS OR
                        HER SETTLEMENT WITH THE DEBTOR.

         The Debtor, the Third Party Releasing Parties and DOE will also be deemed to waive any
         and all provisions, rights, and benefits conferred by any law of any state or territory of the
         United States of America, or principle of common law, which is similar, comparable, or
         equivalent to California Civil Code Section 1542. Such parties shall be deemed to
         acknowledge that they may discover facts in addition to or different from those that they
         now know or believe to be true with respect to the subject matter of the releases given in
         Sections 12.6(a), 12.6(b), 12.6(c) and 12.6(d), but that it is the intention of such parties to
         fully, finally, and forever settle and release with prejudice any and all claims, including any
         and all unknown claims, without regard to the subsequent discovery or existence of
         additional or different facts. Such parties expressly agree that any fraudulent inducement
         or similar claims that could be premised on unknown facts or facts that are subsequently
         discovered are included within the definition of unknown claims.

                        8.     Exculpation and Limitation of Liability

                 On the Effective Date, except as otherwise provided in the Plan or the Confirmation
         Order, for good and valuable consideration, to the maximum extent permissible under applicable
         law, none of the Exculpated Parties shall have or incur any liability to any holder of any Claim or
         Interest or any other Person for any act or omission occurring prior to the Effective Date in
         connection with, or arising out of the Debtor’s restructuring, including the negotiation,
         implementation and execution of the Plan, the Plan Supplement, the Chapter 11 Case, the
         Prepetition Note Documents, the solicitation of votes for and the pursuit of confirmation of the
         Plan, the consummation of the Plan, or the administration of the Plan or the property to be
         distributed under the Plan, including all documents ancillary thereto, all decisions, actions,
         inactions and alleged negligence or misconduct relating thereto and all activities leading to the
         promulgation and confirmation of the Plan except for gross negligence or willful misconduct,
26971921.1
                                                       - 37 -
                     Case 20-11884-KBO          Doc 142-2        Filed 09/02/20   Page 54 of 70




         each as determined by a Final Order of the Bankruptcy Court. For purposes of the foregoing, it
         is expressly understood that any act or omission effected with the approval of the Bankruptcy
         Court conclusively will be deemed not to constitute gross negligence or willful misconduct
         unless the approval of the Bankruptcy Court was obtained by fraud or misrepresentation, and in
         all respects, the applicable Persons shall be entitled to rely on the advice of counsel with respect
         to their duties and responsibilities under, or in connection with, the Chapter 11 Case, the Plan,
         and administration thereof. The Exculpated Parties have, and upon confirmation of the Plan
         shall be deemed to have, participated in good faith and in compliance with the applicable
         provisions of the Bankruptcy Code with regard to the distributions of the securities pursuant to
         the Plan and, therefore, are not, and on account of such distributions shall not be, liable at any
         time for the violation of any applicable law, rule or regulation governing the solicitation of
         acceptances or rejections of the Plan or such distributions made pursuant to the Plan.

                        9.      Injunction Related to Releases and Exculpation

                The Confirmation Order shall permanently enjoin the commencement or prosecution by
         any Person, whether directly, derivatively or otherwise, of any claims, obligations, suits,
         judgments, damages, demands, debts, rights, Causes of Action or liabilities released pursuant to
         the Plan, including the claims, obligations, suits, judgments, damages, demands, debts, rights,
         Causes of Action and liabilities released in or encompassed by Section 12.6 of the Plan. The
         Debtor is expressly authorized hereby to seek to enforce such injunction.

                        10.     Retention of Causes of Action/Reservation of Rights

                  (a)     Except as expressly provided in the Plan or in the Confirmation Order, nothing
         contained in the Plan or the Confirmation Order shall be deemed to be a waiver or
         relinquishment of any rights or Causes of Action that the Debtor or the Estate may have, or that
         the Debtor may choose to assert on behalf of its Estate, under any provision of the Bankruptcy
         Code or any applicable non-bankruptcy law, including, without limitation, (i) any and all Causes
         of Action or claims against any Person or Entity, to the extent such Person or Entity asserts a
         crossclaim, counterclaim and/or claim for setoff that seeks affirmative relief against the Debtor,
         its officers, directors or representatives or (ii) the turnover of any property of the Estate to the
         Debtor.

                 (b)     Except as expressly provided in the Plan or in the Confirmation Order, nothing
         contained in the Plan or the Confirmation Order shall be deemed to be a waiver or
         relinquishment of any rights or Causes of Action that the Debtor had immediately prior to the
         Petition Date or the Effective Date against or regarding any Claim left Unimpaired by the Plan.
         The Debtor shall have, retain, reserve and be entitled to commence, assert and pursue all such
         rights and Causes of Action as fully as if the Chapter 11 Case had not been commenced, and all
         of the Debtor’s legal and equitable rights respecting any Claim left Unimpaired by the Plan may
         be asserted after the Confirmation Date to the same extent as if the Chapter 11 Case had not been
         commenced.

                (c)     Except as expressly provided in the Plan or in the Confirmation Order, nothing
         contained in the Plan or the Confirmation Order shall be deemed to release any post-Effective


26971921.1
                                                        - 38 -
                    Case 20-11884-KBO          Doc 142-2         Filed 09/02/20   Page 55 of 70




         Date obligations of any party under the Plan, or any document, instrument or agreement
         (including those set forth in the Plan Supplement) executed to implement the Plan.

                        11.     Retention of United States Causes of Action/Reservation of Rights

                  Except with respect to the releases provided by DOE pursuant to Section 12.6(c) of the
         Plan, nothing discharges or releases the Debtor or any non-debtor from any right, claim, liability
         or cause of action of the United States or any State, or impairs the ability of the United States or
         any State to pursue any claim, liability, right, defense, or cause of action against any Debtor or
         non-debtor. Contracts, purchase orders, agreements, leases, covenants, guaranties,
         indemnifications, operating rights agreements or other interests of or with the United States or
         any State shall be, subject to any applicable legal or equitable rights or defenses of the Debtor
         under applicable non-bankruptcy law, paid, treated, determined and administered in the ordinary
         course of business as if the Debtor’s bankruptcy case was never filed and the Debtor shall
         comply with all applicable non-bankruptcy law. Except with respect to (i) the releases provided
         by DOE pursuant to Section 12.6(c) of the Plan and (ii) the Prepetition Note Claim, all claims,
         liabilities, rights, causes of action, or defenses of or to the United States or any State shall
         survive the Chapter 11 Case as if it had not been commenced and be determined in the ordinary
         course of business, including in the manner and by the administrative or judicial tribunals in
         which such rights, defenses, claims, liabilities, or causes of action would have been resolved or
         adjudicated if the Chapter 11 Case had not been commenced; provided, that nothing in the Plan
         Documents shall alter any legal or equitable rights or defenses of the Debtor under non-
         bankruptcy law with respect to any such claim, liability, or cause of action, except with respect
         to (i) the Prepetition Note Claim and (ii) any claims or Causes of Action released by the DOE
         pursuant to Section 12.6(c) of the Plan. Without limiting the foregoing, for the avoidance of
         doubt, nothing shall: (i) require the United States or any State to file any proofs of claim or
         administrative expense claims in the Chapter 11 Case for any right, claim, liability, defense, or
         cause of action; (ii) affect or impair the exercise of the United States’ or any State’s police and
         regulatory powers against the Debtor or any non-debtor; (iii) be interpreted to set cure amounts
         or to require the United States or any State to novate or otherwise consent to the transfer of any
         federal or state contracts, purchase orders, agreements, leases, covenants, guaranties,
         indemnifications, operating rights agreements or other interests; (iv) except with respect to the
         Prepetition Note Claim, affect or impair the United States’ or any State’s rights and defenses of
         setoff and recoupment, or ability to assert setoff or recoupment against the Debtor and such
         rights and defenses are expressly preserved; (v) constitute an approval or consent by the United
         States or any State without compliance with all applicable legal requirements and approvals
         under non-bankruptcy law; or (vi) relieve any party from compliance with all licenses and
         permits issued by governmental units in accordance with non-bankruptcy law.




26971921.1
                                                        - 39 -
                     Case 20-11884-KBO          Doc 142-2         Filed 09/02/20   Page 56 of 70




                                                    ARTICLE V

             VOTING REQUIREMENTS; ACCEPTANCE AND CONFIRMATION OF THE PLAN

                A.      General

                The following is a brief summary of the Plan Confirmation process. Holders of Claims
         and Interests are encouraged to review the relevant provisions of the Bankruptcy Code and/or
         consult their own attorneys.

                 Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court, after notice, to
         hold a Confirmation hearing. Section 1128(b) of the Bankruptcy Code provides that any party in
         interest may object to Confirmation of the Plan.

                  Section 1129 of the Bankruptcy Code requires that, in order to confirm the Plan, the
         Bankruptcy Court must make a series of findings concerning the Plan and the Debtor, including
         that (i) the Plan has classified Claims in a permissible manner; (ii) the Plan complies with
         applicable provisions of the Bankruptcy Code; (iii) the Plan has been proposed in good faith and
         not by any means forbidden by law; (iv) the disclosure required by section 1125 of the
         Bankruptcy Code has been made; (v) the Plan has been accepted by the requisite votes of
         Holders of Claims (except to the extent that cramdown is available under section 1129(b) of the
         Bankruptcy Code); (vi) the Plan is feasible and Confirmation is not likely to be followed by the
         liquidation or the need for further financial reorganization of the Debtor unless such liquidation
         or reorganization is proposed in the Plan; (vii) the Plan is in the “best interests” of all Holders of
         Claims in an impaired Class by providing to such Holders on account of their Claims property of
         a value, as of the Effective Date, that is not less than the amount that such Holders would receive
         or retain in a chapter 7 liquidation, unless each Holder of a Claim in such Class has accepted the
         Plan and (viii) all fees and expenses payable under 28 U.S.C. § 1930, as determined by the
         Bankruptcy Court at the Confirmation Hearing, have been paid or the Plan provides for the
         payment of such fees on the Effective Date. The Debtor believes that the Plan satisfies section
         1129 of the Bankruptcy Code.

                B.      Parties in Interest Entitled to Vote

                 Pursuant to the Bankruptcy Code, only Classes of Claims that are “impaired” (as defined
         in section 1124 of the Bankruptcy Code) and receiving a distribution under the Plan are entitled
         to vote to accept or reject the Plan. A Class is impaired if the legal, equitable or contractual
         rights to which the Claims of that Class entitled the Holders of such Claims are modified, other
         than by curing defaults and reinstating the Claims. Classes that are not impaired are not entitled
         to vote on the Plan and are conclusively presumed to have accepted the Plan. In addition,
         Classes that receive no distributions under the Plan are not entitled to vote on the Plan and are
         deemed to have rejected the Plan.

                C.      Classes Impaired and Entitled to Vote Under the Plan

                The following Classes are impaired under the Plan and entitled to vote on the Plan:


26971921.1
                                                         - 40 -
                     Case 20-11884-KBO         Doc 142-2         Filed 09/02/20    Page 57 of 70




                     Class              Designation                  Status           Voting Rights
                       3           Prepetition Note Claims              Impaired       Entitled to Vote

                In general, if a Claim or Interest is unimpaired under a plan, section 1126(f) of the
         Bankruptcy Code deems the Holder of such Claim or Interest to have accepted the plan, and thus
         the Holders of Claims in such unimpaired Classes are not entitled to vote on the plan. Because
         Classes 1, 2, and 4 are unimpaired under the Plan, the Holders of Claims and Interests in these
         Classes are not entitled to vote and conclusively deemed to have accepted the Plan.

                The Holders of Interests in Class 5 are conclusively presumed to have rejected the Plan
         because they are not receiving a distribution or retaining any interest under the Plan on account
         of such Interests.

                D.      Voting Procedures and Requirements

                 The Bankruptcy Court can confirm the Plan only if it determines that the Plan complies
         with the technical requirements of chapter 11 of the Bankruptcy Code. One of these technical
         requirements is that the Bankruptcy Court find, among other things, that the Plan has been
         accepted by the requisite votes of all Classes of impaired Claims and Interests unless approval
         will be sought under section 1129(b) of the Bankruptcy Code in spite of the nonacceptance by
         one or more such Classes.

                 If you have any questions about (i) the procedures for voting your Claim or with respect
         to the packet of materials that you have received or (ii) the amount of your Claim, please contact
         the Debtor’s Solicitation and Claims Agent at 1-866-897-6433 (Toll Free U.S. and Canada) or 1-
         646-282-2500 (International). If you wish to obtain (at no charge) an additional copy of the Plan,
         this Disclosure Statement or other solicitation documents, you can obtain them from the Debtor’s
         case information website (located at https://dm.epiq11.com/Tonopah) or by requesting a copy
         from the Debtor’s Solicitation and Claims Agent via email at tabulation@epiqglobal.com with
         a reference to “Tonopah” in the subject line, or via telephone at 1-866-897-6433 (Toll Free U.S.
         and Canada) or 1-646-282-2500 (International)

                        1.      Ballots

                The DOE, as the holder of Class 3 Claims, is the only Holder of Claims voting on the
         Plan. In voting for or against the Plan, please use (i) only the Ballot sent to you with this
         Disclosure Statement or (ii) the online electronic ballot portal.

                        2.      Submitting Ballots

                If you are entitled to vote to accept or reject the Plan, you should read carefully, complete
         and submit your Ballot in accordance with the instructions below.

                To be counted, all Ballots must be properly executed, completed and delivered by:

                (i) first-class mail (using the reply envelope provided in the solicitation package
                or otherwise), (ii) overnight courier, (iii) personal delivery or (iv) the online
                electronic ballot portal (as described on the Ballot), in each case so that they are
26971921.1
                                                        - 41 -
                     Case 20-11884-KBO         Doc 142-2         Filed 09/02/20   Page 58 of 70




                actually received NO LATER THAN [ ] 5:00 P.M. (ET) ON OCTOBER 13,
                2020 (the “Voting Deadline”) by the Solicitation and Claims Agent. If you are
                submitting a Ballot via first-class mail, overnight courier or personal delivery, it
                should be sent to:

                              If by First Class Mail:

                              Tonopah Solar Energy, LLC Ballot Processing Center
                              c/o Epiq Corporate Restructuring, LLC
                              P.O. Box 4422
                              Beaverton, OR 97076-4422

                              If by Overnight Courier or Overnight Mail:

                              Tonopah Solar Energy, LLC Ballot Processing Center
                              c/o Epiq Corporate Restructuring, LLC
                              10300 SW Allen Boulevard
                              Beaverton, OR 97005

                Delivery of a Ballot to the Solicitation and Claims Agent by facsimile or any
                other electronic means (other than as expressly provided therein) shall not be
                valid.

                 Ballots received after the Voting Deadline will not be counted by the Debtor in
         connection with the Debtor’s request for Confirmation of the Plan. The method of delivery of
         Ballots to be sent to the Solicitation and Claims Agent is at the election and risk of each Holder
         of a Claim or Interest. Except as otherwise provided in the Plan, such delivery will be deemed
         made only when the Ballot is actually received by the Solicitation and Claims Agent. In all cases,
         sufficient time should be allowed to assure timely delivery. For submissions via first-class mail,
         overnight courier or personal delivery, original executed Ballots are required. Delivery of a
         Ballot to the Solicitation and Claims Agent by facsimile, email or any other electronic means
         (other than as expressly provided therein) will not be accepted. No Ballot should be sent to the
         Debtor, their agents (other than the Solicitation and Claims Agent), any administrative agent
         (unless specifically instructed to do so) or the Debtor’s financial or legal advisors, and if so sent
         will not be counted. If no Holders of Claims in a particular Class that is entitled to vote on the
         Plan vote to accept or reject the Plan, then such Class shall be deemed to accept the Plan.

                E.      Acceptance of Plan

                 As a condition to Confirmation, the Bankruptcy Code requires that each class of impaired
         claims vote to accept a plan, except under certain circumstances. See “Confirmation Without
         Necessary Acceptances; Cramdown” below. A class of claims or interests that is unimpaired
         under a plan is deemed to have accepted the plan and, therefore, solicitation of acceptances with
         respect to such class is not required. A class is impaired unless the plan (i) leaves unaltered the
         legal, equitable and contractual rights to which the claim or interest entitles the Holder of such
         claim or interest or (ii) cures any default, reinstates the original terms of the obligation and does

26971921.1
                                                        - 42 -
                     Case 20-11884-KBO          Doc 142-2         Filed 09/02/20   Page 59 of 70




         not otherwise alter the legal, equitable or contractual rights to which the claim or interest entitles
         the Holder of such claim or interest.

                 Section 1126(c) of the Bankruptcy Code defines acceptance of a plan by an impaired
         class as acceptance by Holders of at least two-thirds in dollar amount and more than one-half in
         number of claims in that class; only those Holders that are eligible to vote and that actually vote
         to accept or reject the plan are counted for purposes of determining whether these dollar and
         number thresholds are met. Thus, a class of claims will have voted to accept a plan only if two-
         thirds in amount and a majority in number that actually vote cast their ballots in favor of
         acceptance. Under section 1126(d) of the Bankruptcy Code, a class of interests has accepted a
         plan if Holders of such interests holding at least two-thirds in amount that actually vote have
         voted to accept the plan. Holders of claims or interests who fail to vote are not counted as either
         accepting or rejecting a plan.

                 In addition to these voting requirements, section 1129 of the Bankruptcy Code requires
         that a plan be accepted by each Holder of a claim or interest in an impaired class or that the plan
         otherwise be found by a court to be in the best interests of each Holder of a claim or interest in
         such class. See “Best Interests Test” below. Moreover, each impaired class must accept the plan
         for the plan to be confirmed without application of the “fair and equitable” and “unfair
         discrimination” tests set forth in section 1129(b) of the Bankruptcy Code discussed below. See
         “Confirmation Without Necessary Acceptances; Cramdown” below.

                F.      Confirmation Without Necessary Acceptances; Cramdown

                 In the event that any impaired class of claims or interests does not accept a plan, a debtor
         nevertheless may move for Confirmation of the plan. A plan may be confirmed, even if it is not
         accepted by all impaired classes, if the plan has been accepted by at least one impaired class of
         claims or interests, and the plan meets the “cramdown” requirements set forth in section 1129(b)
         of the Bankruptcy Code. Section 1129(b) of the Bankruptcy Code requires that a court find that a
         plan (i) “does not discriminate unfairly” and (ii) is “fair and equitable,” with respect to each non-
         accepting impaired class of claims or interests.

                 A plan “does not discriminate unfairly” if (i) the legal rights of a non-accepting class are
         treated in a manner that is consistent with the treatment of other classes whose legal rights are
         similar to those of the non-accepting class and (ii) no class receives payments in excess of that
         which it is legally entitled to receive for its claims or interests. The Debtor believes that, under
         the Plan, all impaired Classes of Claims and Interests are treated in a manner that is consistent
         with the treatment of other Classes of Claims and Interests that are similarly situated, if any, and
         no class of Claims or Interests will receive payments or property with an aggregate value greater
         than the aggregate value of the Allowed Claims or Allowed Interests in such Class. Accordingly,
         the Debtor believes that the Plan does not discriminate unfairly as to any impaired Class of
         Claims or Interests.

                 The Bankruptcy Code provides a non-exclusive definition of the phrase “fair and
         equitable.” In order to determine whether a plan is “fair and equitable,” the Bankruptcy Code
         establishes “cram down” tests for secured creditors, unsecured creditors and equity Holders, as
         follows:

26971921.1
                                                         - 43 -
                     Case 20-11884-KBO         Doc 142-2         Filed 09/02/20   Page 60 of 70




                                  (1)     Secured Creditors. Either (i) each impaired secured
                                          creditor retains its liens securing its secured claim and
                                          receives on account of its secured claim deferred Cash
                                          payments having a present value equal to the amount of
                                          its allowed secured claim, (ii) each impaired secured
                                          creditor realizes the “indubitable equivalent” of its
                                          allowed secured claim or (iii) the property securing the
                                          claim is sold free and clear of liens with such liens to
                                          attach to the proceeds of the sale and such liens on
                                          proceeds to receive treatment consistent with clause (i)
                                          or (ii) above.

                                  (2)     Unsecured Creditors. Either (i) each impaired unsecured
                                          creditor receives or retains under the plan property of a
                                          value equal to the amount of its allowed claim or (ii) the
                                          Holders of claims and interests that are junior to the
                                          claims of the dissenting class will not receive any
                                          property under the plan.

                                  (3)     Equity Interests. Either (i) each Holder of an equity
                                          interest will receive or retain under the plan property of
                                          a value equal to the greatest of the fixed liquidation
                                          preference to which such Holder is entitled, the fixed
                                          redemption price to which such Holder is entitled or the
                                          value of the interest or (ii) the Holder of an interest that
                                          is junior to the non-accepting class will not receive or
                                          retain any property under the plan.

                  As discussed above, the Debtor believes that the distributions provided under the Plan
         satisfy the absolute priority rule, where required.

                G.      Classification

                 The Bankruptcy Code requires that, for purposes of treatment and voting, a chapter 11
         plan divides the different claims (excluding administrative claims) against, and equity interests
         in, a debtor into separate classes based upon their legal nature. Pursuant to section 1122 of the
         Bankruptcy Code, a plan may place a claim or an interest in a particular class only if such claim
         or interest is substantially similar to the other claims or interests of such class. The Debtor
         believes that the Plan classifies all Claims and Interests in compliance with the provisions of the
         Bankruptcy Code because valid business, factual and legal reasons exist for separately
         classifying the various Classes of Claims and Interests created under the Plan. Accordingly, the
         classification of Claims and Interests in the Plan complies with section 1122 of the Bankruptcy
         Code.




26971921.1
                                                        - 44 -
                     Case 20-11884-KBO         Doc 142-2         Filed 09/02/20   Page 61 of 70




                                                   ARTICLE VI

                          FEASIBILITY AND BEST INTERESTS OF CREDITORS

                A.      Best Interests Test

                 As noted above, even if a plan is accepted by the Holders of each class of claims and
         interests, the Bankruptcy Code requires a court to determine that such plan is in the best interests
         of all Holders of claims or interests that are impaired by that plan and that have not accepted the
         plan. The “best interests” test, as set forth in section 1129(a)(7) of the Bankruptcy Code, requires
         a court to find either that all members of an impaired class of claims or interests have accepted
         the plan or that the plan will provide a member who has not accepted the plan with a recovery of
         property of a value, as of the Effective Date, that is not less than the amount that such Holder
         would recover if the debtor were liquidated under chapter 7 of the Bankruptcy Code (the “Best
         Interests Test”).

                 To calculate the probable distribution to Holders of each impaired class of claims and
         interests if the debtor was liquidated under chapter 7, a court must first determine the aggregate
         dollar amount that would be generated from a Debtor’s assets if its chapter 11 case were
         converted to a chapter 7 case under the Bankruptcy Code. To determine if a plan is in the best
         interests of each impaired class, the present value of the distributions from the proceeds of a
         liquidation of the Debtor’s unencumbered assets and properties, after subtracting the amounts
         attributable to the costs, expenses and administrative claims associated with a chapter 7
         liquidation, must be compared with the value offered to such impaired classes under the plan. If
         the hypothetical liquidation distribution to Holders of claims or interests in any impaired class is
         greater than the distributions to be received by such parties under the plan, then such plan is not
         in the best interests of the Holders of claims or interests in such impaired class.

                B.      Liquidation Analysis

                Amounts that a Holder of Claims and Interests in Impaired Classes would receive in a
         hypothetical chapter 7 liquidation are discussed in the liquidation analysis of the Debtor prepared
         by the Debtor’s management with the assistance of its advisors (the “Liquidation Analysis”),
         which is attached hereto as Appendix B.

                As described in Appendix B, the Debtor developed the Liquidation Analysis based on the
         unaudited book values as of June 30, 2020, unless otherwise noted in the Liquidation Analysis.

                 As described in the Liquidation Analysis, underlying the analysis is a number of
         estimates and assumptions that, although developed and considered reasonable by the Debtor’s
         management and advisors, are inherently subject to uncertainties and contingencies beyond the
         control of the Debtor and its management. The Liquidation Analysis is based on assumptions
         with regard to liquidation decisions that are subject to change. Accordingly, the values reflected
         in the Liquidation Analysis might not be realized if the Debtor were, in fact, to undergo a
         liquidation.

                 One such assumption is the use of the $186.3 million EPC Contract liquidated damages
         cap to calculate recoveries in the Liquidation Analysis. Under the EPC Contract, that liquidated
26971921.1
                                                        - 45 -
                     Case 20-11884-KBO         Doc 142-2         Filed 09/02/20   Page 62 of 70




         damages cap is triggered if the plant underperforms by 20% or more. As a result of the
         uncertainty of litigation (with regard to both the claims initially raised by Cobra against the
         Debtor and the Debtor’s counterclaims against Cobra), the cost of litigation, and the timeline for
         recovery under a litigation scenario, the Debtor, in consultation with its advisors, determined in
         its business judgment that the maximum liquidated damages figure was the appropriate recovery
         estimate under each scenario in the Liquidation Analysis.

                 This Liquidation Analysis is solely for the purposes of (i) providing “adequate
         information” under section 1125 of the Bankruptcy Code to enable the Holders of Claims and
         Interests entitled to vote under the Plan to make an informed judgment about the Plan and (i)
         providing the Bankruptcy Court with appropriate support for the satisfaction of the “Best
         Interests Test” pursuant to section 1129(a)(7) of the Bankruptcy Code, and should not be used or
         relied upon for any other purpose, including the purchase or sale of securities of, or Claims or
         Interests in, the Debtor.

                  Events and circumstances occurring subsequent to the date on which the Liquidation
         Analysis was prepared may be different from those assumed or, alternatively, may have been
         unanticipated, and thus the occurrence of these events may affect financial results in a materially
         adverse or materially beneficial manner. The Debtor and Reorganized Debtor do not intend to
         and do not undertake any obligation to update or otherwise revise the Liquidation Analysis to
         reflect events or circumstances existing or arising after the date the Liquidation Analysis is
         initially filed or to reflect the occurrence of unanticipated events. Therefore, the Liquidation
         Analysis may not be relied upon as a guarantee or other assurance of the actual results that will
         occur.

                In deciding whether to vote to accept or reject the Plan, Holders of Claims or Interests
         must make their own determinations as to the reasonableness of any assumptions underlying the
         Liquidation Analysis and the reliability of the Liquidation Analysis.

                C.      Application of the Best Interests Test

                 The Debtor believes that the Plan satisfies the Best Interests Test for Class 3. As the Plan
         and Appendix B indicate, confirmation of the Plan will provide each Holder of an Allowed
         Claim in an Impaired Class with a recovery that is equal to or greater than the value of any
         distributions if the chapter 11 case were converted to a case under chapter 7 of the Bankruptcy
         Code.

                D.      Feasibility

                 Section 1129(a)(11) of the Bankruptcy Code requires, as a condition to confirmation, that
         the Bankruptcy Court find that confirmation is not likely to be followed by the liquidation of the
         Debtor or the need for further financial reorganization, unless such liquidation is contemplated
         by the Plan. For purposes of demonstrating that the Plan meets this “feasibility” standard, the
         Debtor, with the assistance of its advisors, has analyzed the ability of the Reorganized Debtor to
         meet its obligations under the Plan and to retain sufficient liquidity and capital resources to
         conduct its business. As part of this analysis, the Debtor has prepared the financial projections,
         as set forth in Appendix C (the “Financial Projections”).

26971921.1
                                                        - 46 -
                     Case 20-11884-KBO         Doc 142-2         Filed 09/02/20   Page 63 of 70




                 As noted in Appendix C, the Financial Projections present information with respect to the
         Reorganized Debtor. These Financial Projections do not reflect the full impact of “fresh start
         reporting” in accordance with American Institute of Certified Public Accountants Statement of
         Position 90-7 “Financial Reporting by Entities in Reorganization under the Bankruptcy Code.”
         Fresh start reporting may have a material impact on the analysis.

                 The Debtor has prepared the Financial Projections solely for the purpose of providing
         “adequate information” under section 1125 of the Bankruptcy Code to enable the Holders of
         Claims and Interests entitled to vote under the Plan to make an informed judgment about the Plan
         and should not be used or relied upon for any other purpose, including the purchase or sale of
         securities of, or Claims or Interests in, the Debtor.

                  In addition to the cautionary notes contained elsewhere in this Disclosure Statement and
         in the Financial Projections, it is underscored that the Debtor makes no representation as to the
         accuracy of the Financial Projections or its ability to achieve the projected results. Many of the
         assumptions on which the Financial Projections are based are subject to significant uncertainties.
         Inevitably, some assumptions will not materialize, and unanticipated events and circumstances
         may affect the financial results. Therefore, the actual results achieved throughout the Projection
         Period (as defined in the Financial Projections) may vary from the Financial Projections, and the
         variations may be material. Also as noted above, the Financial Projections currently do not
         reflect the full impact of any “fresh start reporting,” and its impact on the Reorganized Debtor’s
         “Balance Sheet” and prospective “Results of Operations” may be material. All Holders of Claims
         in the Impaired Classes are urged to examine carefully all of the assumptions on which the
         Financial Projections are based in connection with their evaluation of, and voting on, the Plan.

                                                   ARTICLE VII

                                         SECURITIES LAW MATTERS

                A.      Bankruptcy Code Exemptions from Registration Requirements

                 The Debtor believes that, pursuant to section 4(a)(2) of the Securities Act and Rule 506
         of Regulation D promulgated thereunder, the issuance of the New Common Units is exempt
         from the registration requirements of the Securities Act and any State or local law requiring
         registration for offer or sale of a security.

                 Section 4(a)(2) of the Securities Act provides that the issuance of securities by an issuer
         in transactions not involving a public offering are exempt from registration under the Securities
         Act. Regulation D is a non-exclusive safe harbor from registration promulgated by the SEC
         under Section 4(a)(2) of the Securities Act. The Debtors believes that the New Common Units
         will be issuable without registration under the Securities Act in reliance upon the exemption
         from registration provided under Section 4(a)(2) of the Securities Act and Rule 506 of
         Regulation D because only “accredited investors” (as defined in Rule 501(a) of Regulation D
         under the Securities Act) or “qualified institutional buyers” within the meaning of Rule 144A
         will be eligible to purchase the New Common Units.



26971921.1
                                                        - 47 -
                     Case 20-11884-KBO          Doc 142-2         Filed 09/02/20   Page 64 of 70




                 Any securities issued in reliance on Section 4(a)(2) or Regulation D will be “restricted
         securities” that may not be sold, exchanged, assigned, or otherwise transferred unless they are
         registered, or an exemption from registration applies, under the Securities Act. Under Rule 144,
         the public resale of restricted securities is permitted if certain conditions are met, and these
         conditions vary depending on whether the holder of the restricted securities is an “affiliate” of
         the issuer, as defined in Rule 144. A non-affiliate who has not been an affiliate of the issuer
         during the preceding three months may resell restricted securities after a six-month holding
         period unless certain current public information regarding the issuer is not available at the time
         of sale, in which case the non-affiliate may resell after a one-year holding period. An affiliate
         may resell restricted securities after the applicable holding period but only if certain current
         public information regarding the issuer is available at the time of the sale and only if the affiliate
         also complies with the volume, manner of sale, and notice requirements of Rule 144..

                                                   ARTICLE VIII

                  CERTAIN RISK FACTORS TO BE CONSIDERED PRIOR TO VOTING

              THE PLAN AND ITS IMPLEMENTATION ARE SUBJECT TO CERTAIN RISKS,
         INCLUDING, BUT NOT LIMITED TO, THE RISK FACTORS SET FORTH BELOW.
         HOLDERS OF CLAIMS WHO ARE ENTITLED TO VOTE ON THE PLAN SHOULD READ
         AND CAREFULLY CONSIDER THE RISK FACTORS, AS WELL AS THE OTHER
         INFORMATION SET FORTH IN THIS DISCLOSURE STATEMENT AND THE
         DOCUMENTS DELIVERED TOGETHER HEREWITH REFERRED TO OR
         INCORPORATED BY REFERENCE HEREIN, BEFORE DECIDING WHETHER TO VOTE
         TO ACCEPT OR REJECT THE PLAN. THESE FACTORS SHOULD NOT, HOWEVER
         REGARDED AS CONSTITUTING THE ONLY RISKS INVOLVED IN CONNECTION
         WITH THE PLAN AND ITS IMPLEMENTATION.

                A.      Certain Bankruptcy Law Considerations

                        1.      General.

                 While the Debtor believes that the Chapter 11 Case will be of relatively short duration,
         the Debtor cannot be certain that this will be the case. Although the Plan is designed to
         minimize the length of the Chapter 11 Case, it is impossible to predict with certainty the amount
         of time that the Debtor may spend in bankruptcy or to assure parties in interest that the Plan will
         be confirmed. Even if confirmed on a timely basis, bankruptcy proceedings to confirm the Plan
         could have a material adverse effect on the Debtor. A delay in the bankruptcy proceedings will
         also involve additional expense and may divert some of the attention of the Debtor’s
         management away from its business.

                        2.      Plan Confirmation.

                 The Debtor can make no assurances that it will receive the requisite acceptances to
         confirm that Plan or that the conditions to Confirmation will be satisfied or waived. Further, if
         the requisite acceptances are not received, the Debtor may seek to accomplish an alternative
         restructuring and obtain acceptances to an alternative plan of reorganization for the Debtor, or

26971921.1
                                                         - 48 -
                    Case 20-11884-KBO          Doc 142-2         Filed 09/02/20   Page 65 of 70




         otherwise, that may not have the support of the Holders of Claims and/or may be required to
         liquidate the Estate under chapter 7 or 11 of the Bankruptcy Code. There can be no assurance
         that the terms of any such alternative restructuring arrangement or plan would be similar to or as
         favorable to the Holders of Claims as those proposed in the Plan.

                 Even if the Debtor receives the requisite acceptances, there is no assurance that the
         Bankruptcy Court will confirm the Plan. If the Bankruptcy Court determined that the Disclosure
         Statement and the balloting procedures and results were appropriate, the Bankruptcy Court could
         nevertheless decline to confirm the Plan if it found that any of the statutory requirements for
         Confirmation had not been met. Moreover, there can be no assurance that modifications to the
         Plan will not be required for Confirmation or that such modifications would not necessitate the
         resolicitation of votes. If the Plan is not confirmed, it is unclear what distributions Holders of
         Claims or Interests ultimately would receive in a subsequent plan of reorganization.

                        3.      Objections to Classification of Claims.

                 Section 1122 of the Bankruptcy Code requires that the Plan classify Claims against, and
         Interests in, the Debtor. The Bankruptcy Code also provides that the Plan may place a Claim or
         Interest in a particular Class only if such Claim or Interest is substantially similar to the other
         Claims or Interests of such Class. The Debtor believes that all Claims and Interests have been
         appropriately classified in the Plan.

                 To the extent that the Bankruptcy Court finds that a different classification is required for
         the Plan to be confirmed, the Debtor could seek (i) to modify the Plan to provide for whatever
         classification might be required for Confirmation and (ii) to use the acceptances received from
         any Holder of Claims pursuant to this solicitation for the purpose of obtaining the approval of the
         Class or Classes of which such Holder ultimately is deemed to be a member.

                 Any such reclassification of Claims, although subject to the notice and hearing
         requirements of the Bankruptcy Code, could materially adversely affect the Class in which such
         Holder was initially a member, or any other Class under the Plan, by changing the composition
         of such Class and the vote required for approval of the Plan. There can be no assurance that the
         Bankruptcy Court, after finding that a classification was inappropriate and requiring a
         reclassification, would approve the Plan based upon such reclassification. Except to the extent
         that modification of classification in the Plan requires resolicitation, the Debtor could, in
         accordance with the Bankruptcy Code and the Bankruptcy Rules, seek a determination by the
         Bankruptcy Court that acceptance of the Plan by any Holder of Claims pursuant to this
         solicitation will constitute a consent to the Plan’s treatment of such Holder, regardless of the
         Class as to which such Holder is ultimately deemed to be a member.

                        4.      Risk of Termination of the Restructuring Support Agreement.

                 The Restructuring Support Agreement contains certain provisions that give the Debtor
         and Cobra the ability to terminate the Restructuring Support Agreement if various conditions are
         not satisfied. Termination of the Restructuring Support Agreement could result in withdrawal of
         the Plan and a protracted chapter 11 case.


26971921.1
                                                        - 49 -
                     Case 20-11884-KBO         Doc 142-2        Filed 09/02/20   Page 66 of 70




                        5.     Risk of Nonoccurrence of the Effective Date.

                Although the Debtor believes that the Effective Date may occur quickly after the
         Confirmation Date, there can be no assurance as to such timing or as to whether the Effective
         Date will, in fact, occur.

                        6.     Failure to Consummate the Plan.

                As of the date of this Disclosure Statement, there can be no assurance that the conditions
         to consummation of the Plan will be satisfied or waived. Accordingly, even if the Plan is
         confirmed by the Bankruptcy Court, there can be no assurance that the Plan will be
         consummated and that the contemplated restructuring will be completed.

                        7.     Risk of Litigation.

                 Certain of the Debtor’s creditors or other stakeholders may bring litigation against the
         Debtor during the course of the Chapter 11 Case, the outcome of which is uncertain. Although
         the Debtor believes that the Plan satisfies all of the requirements necessary for confirmation by
         the Court, creditors and other parties in interest may bring objections to challenge confirmation
         of the Plan.

                        8.     Plan Releases May Not Be Approved.

                 There can be no assurance that the Plan releases, as provided in Section 11 of the Plan,
         will be granted. Failure of the Bankruptcy Court to grant such relief may result in a plan of
         reorganization that differs from the Plan or the Plan not being confirmed.

                        9.     Regulatory Approvals.

                Consummation of the Plan is subject to various approvals, including approval by the
         Federal Energy Regulatory Commission and certain state and local governmental authorities.
         There can be no assurance that these approvals will be obtained or that efforts to gain such
         approvals will not substantially delay consummation of the Plan.

                B.      Risks Related to Debtor’s Ongoing Operations during the Case

                        1.     The Reorganized Debtor may not be able to achieve their projected
                               financial results.

                 Actual financial results will be subject to a number of factors including TSE’s ability to
         successfully restore operations at the Power Plant, general business and economic conditions,
         and other matters, many of which will be beyond the control of the Reorganized Debtor and may
         differ materially from the Financial Projections. If TSE is unable to resume operations at the
         Power Plant, the Reorganized Debtor will not be able to meet the Financial Projections after the
         Effective Date. The Financial Projections represent management’s view based on currently
         known facts, the successful Confirmation and implementation of the Plan and hypothetical
         assumptions regarding the Reorganized Debtor’s future operations and ability to finance such
         operations; they do not guarantee the Reorganized Debtor’s future financial performance.
26971921.1
                                                       - 50 -
                    Case 20-11884-KBO          Doc 142-2         Filed 09/02/20   Page 67 of 70




                        2.      The Debtor’s Financial Projections are subject to inherent uncertainty
                                due to the numerous assumptions upon which they are based.

                 The Plan relies upon the Financial Projections that are based on numerous assumptions
         including, without limitation, the timing, Confirmation and consummation of the Plan in
         accordance with its terms, the anticipated future performance of the Reorganized Debtor, general
         business and economic conditions, competition, adequate financing, absence of material claims,
         the ability to make necessary capital expenditures, use of unrestricted cash, the ability to control
         future operating expenses, and other matters, many of which will be beyond the control of the
         Reorganized Debtor and some or all of which may not materialize. Particular uncertainties with
         respect to the Reorganized Debtor’s operations and financial results arise from the risks and
         uncertainties relating to when the Power Plant will become operational, the price at which it is
         able to sell the power that it produces, how much of such power can be off-loaded, and whether
         there will be additional equipment issues or operational difficulties that cause further shut downs
         of the Power Plant.

                 Because the actual results achieved throughout the periods covered by the Financial
         Projections may vary from the projected results, perhaps materially, the Financial Projections
         should not be relied upon as an assurance of the actual results that will occur.

                 Consequently, there can be no assurance that the results or developments contemplated
         by any plan of reorganization implemented will occur or, even if they do occur, that they will
         have the anticipated effects on the Reorganized Debtor and its business or operations. The failure
         of any such results or developments to materialize as anticipated could materially adversely
         affect the successful execution of any plan of reorganization.

                 Except with respect to the Financial Projections and except as otherwise specifically and
         expressly stated herein, this Disclosure Statement and the Plan do not reflect any events that
         might occur subsequent to the date hereof. Such events could have a material impact on the
         information contained in this Disclosure Statement and the Plan. Neither the Debtor nor the
         Reorganized Debtor intend to update the Financial Projections. The Financial Projections
         therefore may not reflect the impact of any subsequent events not already accounted for in the
         assumptions underlying the Financial Projections.

                        3.      Undue delay in confirmation.

                 Although the Plan is designed to minimize the length of the Chapter 11 Case, it is
         impossible to predict with certainty the amount of time that the Debtor may spend in bankruptcy
         or to assure parties in interest that the Plan will be confirmed.

                 The continuation of the Chapter 11 Case, particularly if the Plan is not confirmed in the
         time frame currently contemplated, could materially increase costs to the Debtor. If
         confirmation and consummation of the Plan do not occur expeditiously, the Chapter 11 Case
         could result in, among other things, increased costs for professional fees and other case expenses.




26971921.1
                                                        - 51 -
                     Case 20-11884-KBO          Doc 142-2         Filed 09/02/20   Page 68 of 70




                C.      Financing Risks for the Reorganized Debtor

                        1.      The Reorganized Debtor may not be able to generate sufficient cash flow
                                to meet its debt service and other obligations due to events beyond its
                                control.

                  The Reorganized Debtor’s ability to generate cash flows from operations and to make
         scheduled payments on its anticipated indebtedness post-emergence will depend on its future
         financial performance. If the Reorganized Debtor is unable to service its indebtedness, it will
         require debt relief to meet the Financial Projections. The Reorganized Debtor cannot provide
         any assurance that any of these alternative strategies could be affected on satisfactory terms, if at
         all, or that it would yield sufficient funds to make required payments on its indebtedness and
         continue operating.

                        2.      The Power Plant is currently not operational.

                 The Power Plant is not currently operational. The Plan and related projections assume
         that the Power Plant will become operational by or about October 2020. In the event that the
         Power Plant is not operational by that date, the Debtor’s ability to satisfy its obligations under
         the Exit Agreement will be adversely affected and the Financial Projections may not be
         achieved.

                        3.      The Exit Contingent Note

                The Plan also contemplates the Debtor’s entry into a contingent promissory note (the
         “Exit Contingent Note”) in the aggregate principal amount of $100 million, to be guaranteed by
         Cobra. A substantially final form of the Exit Contingent Note is attached to the Plan as Schedule
         A. The Reorganized Debtor cannot provide any assurance that any amounts ultimately will
         become payable under the Exit Contingent Note.




26971921.1
                                                         - 52 -
                     Case 20-11884-KBO          Doc 142-2         Filed 09/02/20   Page 69 of 70




                 The Debtor believes that confirmation and consummation of the Plan are in the best
         interests of the Debtor, its Estate and its estate. The Plan provides for an equitable distribution to
         Holders of Claims. The Debtor believes that any alternative to confirmation of the Plan, such as
         liquidation under chapter 7 of the Bankruptcy Code, could result in significant delay, litigation
         and additional costs, as well as a significant reduction to or elimination in the distributions to
         Holders of Claims in certain Classes. Consequently, the Debtor urges all eligible Holders of
         impaired Claims entitled to vote on the Plan to vote to ACCEPT the Plan and to complete
         and submit their Ballots so that they will be RECEIVED by the Solicitation and Claims
         Agent on or before the Voting Deadline.




26971921.1
                                                         - 53 -
                   Case 20-11884-KBO       Doc 142-2   Filed 09/02/20     Page 70 of 70




         Dated: July 30September 2, 2020
         Wilmington, Delaware
                                                Respectfully submitted,

                                                Tonopah Solar Energy, LLC



                                                By: /s/ Justin Pugh
                                                    Name: Justin Pugh
                                                    Title: Treasurer




26971921.3
